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           ZAnnable@HaywardFirm.com

  Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                   §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
                                                   §
                                  Plaintiff,
                                                   §
                                                   §   Adv. Proc. No. 21-03003-sgj
  vs.
                                                   §
                                                   §
  JAMES DONDERO, NANCY DONDERO, AND THE
                                                   §
  DUGABOY INVESTMENT TRUST,                            Case No. 3:21-cv-00881-X
                                                   §
                                                   §
                                  Defendants.
                                                   §
                                                   §




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                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                                            §   Adv. Proc. No. 21-03004-sgj
                             Plaintiff,
                                            §
  vs.                                       §
                                            §
                                            §   Case No. 3:21-cv-00881-X
  HIGHLAND CAPITAL MANAGEMENT FUND          §
  ADVISORS, L.P.,                           §
                                            §
                                            §
                             Defendant.     §
                                            §
                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                             Plaintiff,         Adv. Proc. No. 21-03005-sgj
                                            §
                                            §
  vs.
                                            §
                                            §
  NEXPOINT ADVISORS, L.P., JAMES                Case No. 3:21-cv-00881-X
                                            §
  DONDERO, NANCY DONDERO, AND
                                            §
  THE DUGABOY INVESTMENT TRUST,
                                            §
                                            §
                             Defendants.    §
                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                             Plaintiff,         Adv. Proc. No. 21-03006-sgj
                                            §
                                            §
  vs.
                                            §
                                            §
  HIGHLAND CAPITAL MANAGEMENT                   Case No. 3:21-cv-00881-X
                                            §
  SERVICES, INC., JAMES DONDERO,
                                            §
  NANCY DONDERO, AND THE DUGABOY
                                            §
  INVESTMENT TRUST,
                                            §
                                            §
                             Defendants.
                                            §




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                                                         §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                         §
                                                         §
                                 Plaintiff,              § Adv. Proc. No. 21-03007-sgj
                                                         §
  vs.                                                    §
                                                         § Case No. 3:21-cv-00881-X
  HCRE PARTNERS, LLC (n/k/a NexPoint                     §
  Real Estate Partners, LLC), JAMES                      §
  DONDERO, NANCY DONDERO, AND                            §
  THE DUGABOY INVESTMENT TRUST,                          §
                                                         §
                                                         §
                                 Defendants.             §


                        NOTICE OF ATTORNEYS’ FEES CALCULATION
                             AND BACKUP DOCUMENTATION

         PLEASE TAKE NOTICE that Highland Capital Management, L.P. (“Highland” or

 “Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case (the “Bankruptcy

 Case”) and plaintiff in the above-referenced adversary proceedings (the “Adversary Proceedings”)

 hereby files this Notice of Attorney’s Fees Calculation and Backup Documentation (the “Notice”)

 in support of its Proposed Form of Judgment, in accordance with the Court’s directive in its Report

 and Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial

 Summary Judgment Against All Five Note Maker Defendants (With Respect to All Sixteen

 Promissory Notes) in the Above-Referenced Consolidated Note Actions [Docket No. 191] (the

 “R&R”), filed on July 19, 2022.

         1.       Attached as Exhibit 1 is the Declaration of John A. Morris in Support of Highland

 Capital Management, L.P.’s Proposed Form of Judgment (the “Morris Declaration”), and backup

 documentation supporting the calculation of attorneys’ fees.

                              [Remainder of Page Intentionally Blank]




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  Dated: August 5, 2022            PACHULSKI STANG ZIEHL & JONES LLP

                                   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                   John A. Morris (NY Bar No. 2405397)
                                   Gregory V. Demo (NY Bar No. 5371992)
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                                           hwinograd@pszjlaw.com


                                   -and-
                                   HAYWARD PLLC
                                   /s/ Zachery Z. Annable
                                   Melissa S. Hayward
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                                   Fax: (972) 755-7110
                                   Counsel for Highland Capital Management, L.P.




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                                 EXHIBIT 1




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     DECLARATION OF JOHN A. MORRIS IN SUPPORT OF HIGHLAND CAPITAL
           MANAGEMENT L.P.’S PROPOSED FORM OF JUDGMENT


         I, John A. Morris, pursuant to 28 U.S.C. § 1746, under penalty of perjury, declare as

 follows:

                  2.         I am a partner in the law firm Pachulski, Stang, Ziehl & Jones LLP (the

 “Firm”), counsel to Highland Capital Management, L.P. (“Highland” or “Plaintiff”), the

 Reorganized Debtor in the above-captioned chapter 11 case (the “Bankruptcy Case”) and the

 plaintiff in the above-referenced adversary proceedings (each, a “Note Litigation,” and

 collectively, the “Notes Litigation”). I submit this Declaration in support of Highland Capital

 Management, L.P.’s Proposed Forms of Judgment (the “Proposed Judgments”).

                  3.         I have overseen my Firm’s representation of Plaintiff in all aspects of the

 Notes Litigation. This Declaration is based on my personal knowledge and review of the

 documents listed below.

                  4.         On July 19, 2022, the Bankruptcy Court rendered a Report and

 Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial Summary

 Judgment Against All Five Note Maker Defendants (With Respect to All Sixteen Promissory Notes)

 in the Above-Referenced Consolidated Note Actions (the “R&R”). 1 In the R&R, the Court directed

 Highland to “submit a form of Judgment applicable to each Note Maker Defendant that calculates

 proper amounts due pursuant to th[e] Report and Recommendation, including interest accrued to

 date (and continuing per diem), as well as attorneys’ fees incurred.” R&R at 44-45.




 1
  Identical copies of the R&R were filed in Adv. Pro. No. 21-03003 at Docket No. 191; Adv. Pro. No. 21-03004 at
 Docket No. 163; Adv. Pro. No. 21-03005 at Docket No. 207; Adv. Pro. No. 21-03006 at Docket No. 213; and Adv.
 Pro. No. 21-03007 at Docket No. 208.



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                  5.         As set forth below, and in accordance with the Court’s direction in the R&R,

 I and others working at my direction have reviewed invoices related to the attorneys’ fees and

 expenses charged to Highland in the Notes Litigation and calculated the amount of attorneys’ fees

 and expenses incurred in connection therewith.

 A.      Attorneys’ Fees Charged by Pachulski Stang Ziehl & Jones LLP

                  6.         In the ordinary course of business, timekeepers (including attorneys and

 legal assistants) at my Firm record billable time in increments of one-tenth of an hour.

 Timekeepers are also required to classify their work by task codes and/or matter numbers to

 differentiate between individual tasks conducted for the same client.

                  7.         For the period December 1, 2020, until August 10, 2021, the Firm’s

 timekeepers recorded their time entries relating to the Notes Litigation under matter number “.002”

 and task code “BL” (short for “Bankruptcy Litigation”). Attached as Exhibit A are the Firms’

 invoices for the period December 1, 2020, through August 10, 2021, that reflect all of the Firm’s

 time billed to the Notes Litigation.

                  8.         For the period August 11, 2021, through December 31, 2021, the Firm’s

 timekeepers recorded their time entries relating to the Notes Litigation under matter number “.003”

 and task code “NL” (short for “Notes Litigation”). Attached as Exhibit B are the Firm’s invoices

 for the period August 11, 2021, through December 31, 2021, that reflect all of the Firm’s time

 billed to the Notes Litigation.

                  9.         On January 1, 2022, the Firm created a new matter number (“.004”) for

 timekeepers to record their time entries relating to the Notes Litigation. Attached as Exhibit C

 are the Firm’s invoices for the period January 1, 2022, through July 31, 2022, that reflect all of the

 Firm’s time billed to the Notes Litigation.




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                  10.        We have reviewed the attached invoices and redacted all entries that we

 concluded were inadvertently coded or charged to the Notes Litigation (“Misapplied Time”).

 Based on that review, we believe the attached invoices capture and reflect fees properly charged

 by my Firm to Highland with respect to the Notes Litigation.

                  11.        For the period December 1, 2020 through July 31, 2022, the attorneys’ fees

 billed by the Firm’s timekeepers with respect to the Notes Litigation and charged to Highland are

 in the total aggregate amount of $2,663,585.30 (the “Fees”).

 B.      Third-Party Expenses Incurred In Connection with the Notes Litigation

                  12.        In order to conserve resources, the Firm retained a third-party litigation

 support from a firm called “Robert Half” to review documents for responsiveness and privilege in

 connection with the Notes Litigation. Attached as Exhibit D are the invoices for services rendered

 by Robert Half in connection with the Notes Litigation for the period December 1, 2020 through

 July 31, 2022 (the “Robert Half Expenses”).

                  13.        Finally, Highland took and defended numerous depositions in connection

 with the Notes Litigation. Attached as Exhibit E are invoices rendered by TSG Reporting, Inc.

 for court reporting services rendered in connection with the Notes Litigation for the period

 December 1, 2020 through July 31, 2022 (the “Court Reporting Expenses,” and together with the

 Robert Half Expenses, the “Expenses”).

                  14.        For the period December 1, 2020 through July 31, 2022, the Expenses

 incurred by the Firm and charged to Highland with respect to the Notes Litigation are in the total

 aggregate amount of $57,460.55.




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 C.      Summary of All Fees and Expenses Incurred by Highland in the Notes Litigation

                  15.        Attached as Exhibit F is chart showing that the aggregate amount of all

 Fees and Expenses charged to Highland in connection with the collection of the Notes is

 $2,797,105.35.

                  16.        As the Court is aware, there was substantial overlap in the legal and factual

 issues in the five adversary proceedings. Consequently, there was no reasonable way to allocate

 the Fees and Expenses separately between each Note Litigation and we believe the fairest method

 of allocating the Fees and Expenses under the circumstances is to charge each Defendant for one-

 fifth the total, or $559,421.07.

                  17.        I declare under penalty of perjury that the forgoing is true and correct.

 Dated: August 5, 2022



                                                                /s/ John A. Morris
                                                                    John A. Morris




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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
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                                                                    December 31, 2020
Board of Directors                                                  Invoice 126769
Highland Capital Management LP                                      Client  36027
300 Crescent Court ste. 700                                         Matter  00002
Dallas, TX 75201
                                                                            JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2020
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    February 28, 2021
Board of Directors                                                  Invoice 127314
Highland Capital Management LP                                      Client   36027
300 Crescent Court ste. 700                                         Matter   00002
Dallas, TX 75201
                                                                             JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2021
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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 Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                                1mJRimxz@z.JaizmJREmIWdRzpqDqsoziLz?Jdq[dJ_z




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                                iL2-90*zDaJdIJIzDdouJmz




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                                HiddJHqVidzuWqSz2-9?zdiqJpz_WqVRDqVidz !z
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                                2-9?zdiqJoz^VqVRDqVidz z
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                                psFkiJdDpzNjmz;u-zPmz2-9?zdiqJpz^VqVRDqVidz!z
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                                tJmWMZHDqWidzVdzHihdJHqVidzuWqTz2-9?z=:ozWgz
                                diqJoz_VqWRDqVidz z
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4:=FcN_MHh6a;TDh9H@GPhh*XT@_h,,4h                                                            4:D@h  h
'HDFO;T>h#:[Ha:Oh.:T:D@Q@Tah-4h                                                               )TdXH=@hh
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                                d@]HAK=:aHXThLTh=XTT@=aHXThfHaFh'#.6h53_hLVh
                                TXa@_hOHaHD:aHXTh h
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                                53_hHThTXa@_hOHaHD:aHXTh h
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                                QXaHXThaXh:Q@T>h:T_f@]hHThTXa@_hOHaHD:aHXTh h




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,02:R@N?<W.P1F9W/<4;BWW'GF4NW((,W                                                            ,094W W
%<9:A1F3W#0I=P0AW*0F094C4FPW),W                                                               &FSG=24WW
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                                @=P=90P=GFWK4W 3=O2GS4MVWILGIGN43W0C4F3C5FPOW  W




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                                FGP4OWA<P<90P<GFWL4W 3=N2GS4VW ILGIGO43W0C4F3C4FPOW
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%*,2G6C54L'E+;1L)4.38LL >;.CL!!%L                                                             %*1.L L
4127+;-L*?4E*7L#*;*1.9.;EL"%L                                                                ;I>4,.L  L
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*/28J=G<:O-I0B7O.:49?OO%DB4GO&&*O                                                           */74O O
":78>0B3O/E:I/>O'/B/74@4BIO&*O                                                              #BKD:24O  O
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                                                                                    "DJFHO           +0I4O    ADJBIO



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                                 O+4K:4LO",!O3:G2DK4FMOG2843J=4O;COBDI4GO


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                                L O$O-44FMOF4O *LOGJ1ED4B/O6D@O DB34FDO  O
                                4@/:=GOL O(O:74BO%O*D@4F/BINOF4O *LO


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29;EbL^KHj5`:TDj8H=FNjj*WT=^j,,2j                                                               29D=j j
'HDEM:T<j#9YG`9Mj/9T9D=O=T`j-2j                                                                  (TdWG;=jj
j j                                                                                    *bT=j jj




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                                <=A?T<9T`^j* j2WO=[:T`ij&j$=OWj' j7HTWD[:<j[= j
                                <H^;We=[hj9T<j_;E=<cM=jAX[jTW`=^jLJ`HD9`HWV_j j j




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*/17R>N=:W,P0F6W.:39@WW%HF3NW&&*W                                                         */63W W
":67?0F2W /J:P/?W(/F/63A3FPW'*W                                                            $FSH:13W  W
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                                FHQ3NW?:Q:6/Q:HFW W+3S:3UW" )WAHQ:HFWQHW
                                /F3F2W/FNU3LW W !M/5WN3/K18WP3EW4IMW" )W
                                2:N1HS3VW:FWFHP3NW?<P:6/P:HFW WW




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%)+0F9B63L'E*</L(3-28LL ><-BL!!%L                                                            %)/-L  L
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*14:RAO@=W,Q3H8W0=6<CWW%IH6OW&&*W                                                             *186W W
!=8:B3H5W 1J>Q1BW(1H186D6HQW'*W                                                                #HTI>46WW
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                                155WH6VW41RO6OWI7W14Q>IHW WW

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                                HIQ6OWB=Q>81Q=IHW W 1ABWV>Q:W% W)IKK>OWN6W
                                1D6H5>H8W4IEJA1=HQOW>HWHIQ6OWA=Q>81Q>IHW WW




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18;?UEPDAZ3R9K>Z7A=@GZZ*LK=PZ++1Z                                                          18>=Z Z
&A>?F9K<Z%8MBR8FZ.8K8>=H=KRZ,1Z                                                             (KWLB;=ZZ
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:BGTt\mZVx=oEbQxAVJU^xx2gbJmx44:x                                                              :BQJ#x x
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                                BmmJpJIxG\BX_mxNkxbgoJmx]VoVQBoVgbmx 'x,jBPx
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2021
Board of Directors                                                  Invoice 128292
Highland Capital Management LP                                      Client    36027
300 Crescent Court ste. 700                                         Matter    00002
Dallas, TX 75201
                                                                              JNP

RE: Postpetition

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          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021




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Highland Capital Management LP                                                              Invoice 128474
36027 -00002                                                                                August 10, 2021


                                                                                    Hours           Rate      Amount

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 08/04/2021     JAM   BL        Review/revise draft response to Dondero objection    1.20      1245.00        $1.494.00
                                to Report and Recommendations (1.1); e-mail to I.
                                Kharasch, J. Kim, G. Demo re: revised draft
                                response to Dondero objection to Report and
                                Reconunendations (0.1).
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 OS/ 05/ 2021   IDK    BL       E-mail J Kim re his draft response to HCMFA          0.60      1325.00         $795.00
                                objection to R&R, including review of same (.3);
                                E-mails with J Morris re same and his changes,
                                along with final response (.3).
 08/05/2021     JJK   BL        Emails Morris on HCMFA reply matters.                0.10        995.00         $99.50
 08/05/2021     JJK   BL        Continue work on replies and filing thereof to       4.20        995.00       $4.179.00
                                objections to reports/recommendations.
 08/05/2021     JJK   BL        Emails Morris on HCMFA reply and review              0.10        995.00         $99.50
                                comments.
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    August 31, 2021
Board of Directors                                                  Invoice 128567
Highland Capital Management LP                                      Client   36027
300 Crescent Court ste. 700                                         Matter   00003
Dallas, TX 75201
                                                                             JNP

RE: Post-Effective Date

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          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2021




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Highland Capital Management LP                                                                Invoice 128567
36027 - 00003                                                                                 August 31, 2021




  Notes Litigation
 08/11/2021   JJK     NL        Prepare HCM objection to motion to reconsider.         4.20        995.00       $4,179.00

 08/11/2021   JAM     NL        Review stipulations for each adversary proceeding      0.50      1245.00         $622.50
                                (0.4); e-mails w/ M. Aigen re: scheduling
                                stipulations (0.1).

 08/11/2021   HRW     NL        Draft motion to file amended complaints for notes      2.80        695.00       $1,946.00
                                litigations (2.8)

 08/12/2021   JJK     NL        Research and prepare replies re: Reports, motions to   5.20        995.00       $5,174.00
                                reconsider; emails Kharasch on same.

 08/12/2021   LSC     NL        Retrieve and transmit Reports and                      0.30        460.00        $138.00
                                Recommendations regarding notes litigations for J.
                                Morris.

 08/12/2021   HRW     NL        Draft motion to file amended complaints for notes      3.00        695.00       $2,085.00
                                litigations (3.0)

 08/13/2021   IDK     NL        E-mail H Winograd re updated litigation WIP list       0.20      1325.00         $265.00
                                with focus on deadlines re matters on Dondero
                                entities motions for withdrawal of reference.

 08/13/2021   IDK     NL        E-mail J Kim re draft of response to HCMS motion       0.40      1325.00         $530.00
                                to reconsider to D Court, including review of same
                                and new argument.

 08/13/2021   JAM     NL        Review motion to amend complaint and proposed          1.50      1245.00        $1,867.50
                                orders (0.9); e-mails w/ G. Demo, H. Winograd re:
                                motion to amend complaint and proposed orders
                                (0.2); e-mails w/ M. Aigen, others, re: scheduling
                                order and motion to amend complaints (0.4).

 08/13/2021   GVD     NL        Review open issues re notes litigation and             0.40        950.00        $380.00
                                correspondence with H. Winograd re same

 08/13/2021   HRW     NL        Edit and finalize motions to file amended complaints   1.20        695.00        $834.00
                                in notes litigations (1.2).

 08/16/2021   IDK     NL        Review and consider revised response to HCMS           0.70      1325.00         $927.50
                                motion to reconsider R&R (.3); E-mails with J
                                Pomerantz re same and Texas litigation counsel (.2);
                                E-mails with J Kim re my feedback on draft of same
                                and timing for filing today (.2).

 08/16/2021   JJK     NL        Emails Kharasch, Pomerantz on motions to               1.50        995.00       $1,492.50
                                reconsider; related research and final revisions to
                                last reply re: Reports.

 08/16/2021   JNP     NL        Review response to motion for reconsideration of       0.10      1295.00         $129.50




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36027 - 00003                                                                                      August 31, 2021


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                                order adopting report and recommendations.
 08/17/2021   JAM     NL        Review/revise motions for leave to amend                    1.40      1245.00        $1,743.00
                                complaints in Notes Litigation (1.1); e-mail to L.
                                Canty, Z. Annable, H. Winograd re: motions for
                                leave to amend complaints in Notes Litigation and
                                related matters (0.2); e-mails w/ Z. Annable, H.
                                Winograd re: motions to amend complaints in Notes
                                Litigation (0.1).

 08/17/2021   LSC     NL        Prepare and transmit exhibits to motions to amend.          0.50        460.00        $230.00

 08/18/2021   JAM     NL        Communications w/ M. Aigen, Z. Annable re: form             0.40      1245.00         $498.00
                                of Order for motions for leave to amend complaints
                                (0.2); tel c. w/ D. Rukavina re: Advisors’ motion for
                                protective order (0.2).

 08/18/2021   LSC     NL        Transmit proposed orders on motions to amend.               0.20        460.00         $92.00

 08/19/2021   JAM     NL        Revise Advisors’ draft Stipulation resolving their          0.70      1245.00         $871.50
                                motion for a protective order (0.5); draft e-mail to D.
                                Rukavina re: revised Stipulation resolving Advisors’
                                motion for a protective order (0.2).

 08/20/2021   JNP     NL        Conference with John A. Morris regarding                    0.20      1295.00         $259.00
                                protective order regarding notes litigation.

 08/20/2021   JAM     NL        E-mails w/ D. Rukavina re: proposed settlement of           0.20      1245.00         $249.00
                                motion for protective order (0.1); e-mails w/ J.
                                Seery, J. Pomerantz, G. Demo re: Advisors’ motion
                                for a protective order (0.1).

 08/24/2021   HRW     NL        Draft notice of filing stipulations re: notes litigation    2.20        695.00       $1,529.00
                                (2.2).

 08/25/2021   JAM     NL        E-mails w/ H. Winograd re: HCMFA scheduling                 0.10      1245.00         $124.50
                                stipulation (0.1).

 08/25/2021   HRW     NL        Draft proposed orders re: notes litigation (2.5);           2.60        695.00       $1,807.00
                                Communicate with opposing counsel for HCMFA
                                re: notes stipulation (0.1).

 08/26/2021   JAM     NL        E-mails w/ H. Winograd, Z. Annable re: filing of            0.40      1245.00         $498.00
                                Amended Complaints (0.2); e-mails w/ H.
                                Winograd, D. Rukavina re: scheduling order for
                                HCMFA notes litigation (not subject to amended
                                complaint) (0.2).

 08/26/2021   LSC     NL        Prepare exhibits to amended complaints (.7); prepare        1.00        460.00        $460.00
                                exhibits to orders approving discovery stipulations
                                (.3).

 08/26/2021   HRW     NL        Prepare and review amended complaints and                   1.70        695.00       $1,181.50




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                                exhibits for notes litigations filings (1.5);
                                Communicate with opposing counsel for Advisors
                                re: discovery stipulations (0.1); Review discovery
                                stipulations for notes litigations (0.1).

 08/27/2021   JAM     NL        E-mails w/ D. Rukavina, M. Aigen re: timing of          0.30       1245.00          8373.50
                                answers and discovery demands (0.1); e-mails w/ Z.
                                Amiable re: filing of amended answers and orders
                                approving scheduling stipulations (0.2).

 08/27/2021   HRW     NL        Review adversary cover sheets for notes litigations     1.20         695.00         $834.00
                                (0.2); Review and prepare discovery stipulations and
                                proposed orders for notes litigations (1.0).

 08/29/2021   JMF     NL        Review amended complaints re notes litigation.          0.30       1050.00          $315.00

                                                                                        35.40                     $31,635.50




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                                               /RV$QJHOHV&$
                                                                         6HSWHPEHU
%RDUGRI'LUHFWRUV                                                       ,QYRLFH 
+LJKODQG&DSLWDO0DQDJHPHQW/3                                          &OLHQW  
&UHVFHQW&RXUWVWH                                              0DWWHU  
'DOODV7;
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5( 3RVW(IIHFWLYH'DWH

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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                            3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                               ,QYRLFH 
                                                                                                  6HSWHPEHU


                                                                                                     +RXUV           5DWH         $PRXQW




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  1RWHV/LWLJDWLRQ
    -0)      1/       5HYLHZPRWLRQWRFRPSHODUELWUDWLRQ                                                   
    -$0      1/       5HYLHZGRFNHWIRUILOLQJV DPHQGHGDQVZHUVPRWLRQ                                    
                                WRFRPSHODUELWUDWLRQDQGPRWLRQVWRGLVPLVVHG 
                                  
    *9'      1/       5HYLHZPRWLRQVWRGLVPLVVDQGPRWLRQVWRFRPSHO                                        
                                DUELWUDWLRQLQQRWHVSURFHHGLQJV
    +5:      1/       5HYLHZ1H[3RLQWDPHQGHGDQVZHULQQRWHV                                                
                                OLWLJDWLRQ  
    -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJ                                              
                                DUELWUDWLRQPRWLRQPRWLRQWRVWD\DQGVWUDWHJ\
    -0)      1/       5HYLHZPRWLRQVWRGLVPLVVDQGFRPSHODUELWUDWLRQ                                      
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQDQG                                      
                                QH[WVWHSV
    +5:      1/       &RPPXQLFDWHZLWKORFDOFRXQVHOUHVWLSXODWLRQVLQ                                      
                                QRWHVOLWLJDWLRQV  
    *9'      1/       5HYLHZOLPLWHGSDUWQHUVKLSSURYLVLRQVUHPRWLRQVWR                                
                                GLVPLVV
    *9'      1/       5HYLHZFRUUHVSRQGHQFHIURP-0RUULVUHQRWHV                                          
                                OLWLJDWLRQ
    +5:      1/       'UDIWGLVFRYHU\UHTXHVWVIRUFRQVROLGDWHGQRWHV                                    




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                   3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                      ,QYRLFH 
                                                                                         6HSWHPEHU


                                                                                            +RXUV           5DWH         $PRXQW
                                OLWLJDWLRQV  
    +5:      1/       5HYLHZPRWLRQVIRUVWD\DQGDUELWUDWLRQLQQRWHV                          
                                OLWLJDWLRQV  
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQ                                  
    +5:      1/       'UDIWGLVFRYHU\UHTXHVWVIRUFRQVROLGDWHGQRWHV                           
                                OLWLJDWLRQV  
    -0)      1/       5HYLHZVFKHGXOLQJRUGHUVUHQRWHVOLWLJDWLRQ                                 
                                DGYHUVDULHV
    -$0      1/       5HYLHZGUDIWGLVFRYHU\GHPDQGVIRUQRWHVOLWLJDWLRQ                      
                                  WHOFZ+:LQRJUDGUHGLVFRYHU\LVVXHV
                                  FRPPXQLFDWLRQVZ'.ORV-6HHU\UH
                                FRVWYDOXHRI0*05&37UXVVZD\  GUDIW
                                GLVFRYHU\UHTXHVWVIRU1H[3RLQW  WHOFZ+
                                :LQRJUDGUHGLVFRYHU\GHPDQGV  UHYLHZ
                                UHYLVHGGLVFRYHU\GHPDQGV  HPDLOVZ+
                                :LQRJUDGUHILQDOYHUVLRQVRIGLVFRYHU\GHPDQGV
                                  
    +5:      1/       &DOOZLWK-0RUULVUHQRWHVOLWLJDWLRQGLVFRYHU\                            
                                  
    +5:      1/       &DOOZLWK-0RUULVUHQRWHVOLWLJDWLRQDUELWUDWLRQ                          
                                PRWLRQV  
    +5:      1/       'UDIWGLVFRYHU\UHTXHVWVIRUFRQVROLGDWHGQRWHV                           
                                OLWLJDWLRQV
    +5:      1/       6HUYHGLVFRYHU\UHTXHVWVRQRSSRVLQJFRXQVHOIRU                              
                                FRQVROLGDWHGQRWHVOLWLJDWLRQV
    --.      1/       (PDLOV.KDUDVFKRQUHIHUHQFHPDWWHUVDQG                                  
                                FRQVLGHUUHVHDUFKVDPH
    *9'      1/       &RUUHVSRQGHQFHUHHPDLOGLVFRYHU\LVVXHV                                       
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHDGGLWLRQDOQRWHV                                 
                                OLWLJDWLRQ
    -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJUHVSRQVH                            
                                WRDUELWUDWLRQDQGPRWLRQWRGLVPLVVPRWLRQ
    -$0      1/       0HHWZLWK*'HPR+:LQRJUDGUHPRWLRQVIRU                           
                                DUELWUDWLRQDQGWRGLVPLVV  WHOFZ-6HHU\'
                                .ORVUH'RQGHURFRPSHQVDWLRQ  
    *9'      1/       &RQIHUHQFHZLWK-0RUULVDQG+:LQRJUDGUH                                  
                                UHVSRQVHWRQRWHVOLWLJDWLRQDFWLRQV
    +5:      1/       5HYLHZGHDGOLQHVUHFRQVROLGDWHGQRWHVOLWLJDWLRQV                           
                                PRWLRQVWRGLVPLVVDQGPRWLRQIRUVWD\  
    -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJPRWLRQWR                           
                                GLVPLVVDQGPRWLRQWRFRPSHODUELWUDWLRQ




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+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                  ,QYRLFH 
                                                                                     6HSWHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
    -13      1/       &RQIHUHQFHZLWK-RUGDQ$.URRSUHJDUGLQJPRWLRQ                         
                                WRGLVPLVVDQGPRWLRQWRFRPSHODUELWUDWLRQ
    -13      1/       5HYLHZPRWLRQWRFRPSHODUELWUDWLRQ                                      
    -13      1/       &RQIHUHQFHZLWK+D\OH\5:LQRJUDG-RKQ$                          
                                0RUULVDQG-RUGDQ$.URRSUHJDUGLQJPRWLRQWR
                                FRPSHODUELWUDWLRQ
    -$0      1/       7HOFZ-3RPHUDQW]-.URRS+:LQRJUDGUH                    
                                GHIHQGDQWV DUELWUDWLRQPRWLRQ  HPDLOWR-
                                6HHU\UHPRWLRQVWRGLVPLVVDQGWRDUELWUDWH  
                                HPDLOWR-3RPHUDQW]-.URRSUHPRWLRQVWR
                                GLVPLVVDQGDUELWUDWH  
    +5:      1/       &DOOZLWK-0RUULV-3RPHUDQW]DQG-.URRS                           
                                  
    +5:      1/       5HYLHZPRWLRQWRGLVPLVVLQQRWHVOLWLJDWLRQV                     
    -$.      1/       %HJLQUHYLHZRIPRWLRQWRFRPSHODUELWUDWLRQ                    
                                VWUDWHJ\DQGSODQQLQJGLVFXVVLRQZLWK-RKQ0RUULV 
                                -HII3RPHUDQW]DQG+D\OH\:LQRJUDG  
                                IROORZXSGLVFXVVLRQZLWK-HII3RPHUDQW]UHJDUGLQJ 
                                DUELWUDWLRQPRWLRQ  DGGLWLRQDOUHYLHZDQG
                                DQDO\VLVRIDUELWUDWLRQPRWLRQ  
    ,'.      1/       (PDLOVZLWKDWWRUQH\VUH'&RXUWXSKROGLQJUHSRUW                       
                                DQGUHFRPPHQGDWLRQUH+&0)$SURFHHGLQJ
                                LQFOXGLQJUHYLHZRIVDPH
    +5:      1/       5HYLHZPRWLRQWRGLVPLVVFRPSODLQWLQQRWHV                           
                                OLWLJDWLRQ  
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                                OLWLJDWLRQ  
    +5:      1/       6HQGRSSRVLQJFRXQVHOVXSSOHPHQWDOSURGXFWLRQVLQ                         
                                QRWHVOLWLJDWLRQ  
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHVWDWXVRIQRWHV                               
                                OLWLJDWLRQ
    *9'      1/       &RQIHUHQFHZLWK+:LQRJUDGUHUHVSRQVHWR                                
                                PRWLRQVWRGLVPLVVDQGQH[WVWHSV
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                                OLWLJDWLRQV  
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                                RSSRVLWLRQWRGHPDQGIRUDUELWUDWLRQ




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       6HSWHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
    +5:      1/       'UDIWDQGUHVHDUFKUHPRWLRQWRGLVPLVVLQQRWHV                       
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    -$0      1/       5HYLHZRIGRFXPHQWVDQGGRFNHWDQGHPDLOVWR-                       
                                .URSS-3RPHUDQW]*'HPR+:LQRJUDGUH
                                IDFWVDQGDUJXPHQWVFRQFHUQLQJRSSRVLWLRQWR
                                PRWLRQWRFRPSHODUELWUDWLRQ  IXUWKHU
                                FRPPXQLFDWLRQVZ-.URRSUHDUELWUDWLRQPRWLRQ
                                  
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                                OLWLJDWLRQV  
    -$.      1/       (PDLOFRUUHVSRQGHQFHZLWK-RKQ0RUULVUHJDUGLQJ                        
                                YDULRXVDUJXPHQWVSHUWDLQLQJWRZDLYHUDQGHVWRSSHO 
                                IRUDUELWUDWLRQPRWLRQREMHFWLRQUHYLHZDQGDQDO\]H
                                WUDQVFULSWVIURPSUHYLRXVKHDULQJEHJLQUHVHDUFK
                                UHJDUGLQJYDULRXVDUJXPHQWVIRUDUELWUDWLRQ
                                REMHFWLRQ
    ,'.      1/       5HYLHZRIRUGHUIURP'LVWULFW&RXUWRQRUGHURI                            
                                UHIHUHQFHUH'$)DFWLRQLQFOXGLQJ(PDLOIURP- 
                                0RUULVUHVDPH
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                         
                                OLWLJDWLRQV  
    -$.      1/       'UDIWLQJRISRUWLRQVRIREMHFWLRQWRDUELWUDWLRQ                       
                                PRWLRQUHVHDUFKOHJDOLVVXHVIRUXVHLQVDPHHPDLOV 
                                ZLWK-RKQ0RUULVUHJDUGLQJDGGLWLRQDODUJXPHQWV
                                DQGVXSSRUWIRUVDPHUHYLHZDQGDQDO\]HSURYLVLRQV
                                RIOLPLWHGSDUWQHUVKLSDJUHHPHQWIRUXVHLQ
                                DUJXPHQWVLQRSSRVLWLRQRIDUELWUDWLRQDJUHHPHQW
                                PHPRRXWOLQLQJOHJDOLVVXHVWREHUHVHDUFKHGDQG 
                                VXSSRUWLQJGLUHFWLRQ
    *9'      1/       &RUUHVSRQGHQFHZLWKWHDPUHDELOLW\WRHQIRUFH                              
                                DUELWUDWLRQLQUHMHFWHGDJUHHPHQW
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                OLWLJDWLRQV  
    +5:      1/       5HYLHZSULRUGLVFRYHU\5 26VHQWWRDOOSDUWLHVLQ                          
                                QRWHVOLWLJDWLRQV  
    +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                       
                                QRWHVOLWLJDWLRQ  
    --.      1/       (PDLOV.URRS.HDQHRQUHVHDUFKIRURSSWR                             
                                'RQGHURPRWLRQUHDUELWUDWLRQUHVHDUFKIRULQVHUWV
    --.      1/       5HVHDUFKIRURSSWRPRWLRQUHDUELWUDWLRQ                             
    --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQDQGHPDLOV                      
                                .URRSRQVDPH




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+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                  ,QYRLFH 
                                                                                     6HSWHPEHU


                                                                                        +RXUV           5DWH         $PRXQW
    -$0      1/       5HYLHZGHIHQGDQWV GLVFRYHU\GHPDQGV  WHOF                   
                                Z*'HPRUHUHVSRQVHVWR5)$V FRUSRUDWH
                                LVVXHV   WHOFZ+:LQRJUDGUHGRFXPHQW
                                UHTXHVWVDQGUHVSRQVHV  WHOFZ*'HPRUH
                                UHVSRQVHVWRGLVFRYHU\  HPDLOVZ76XUJHQW
                                '.ORV*'HPR+:LQRJUDGUHHPDLOVHDUFKHV
                                IRU1DQF\'RQGHUR  
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHGLVFRYHU\LVVXHV                              
    *9'      1/       &RQIHUHQFHZLWK+:LQRJUDGUHUHVSRQVHWRPRWLRQ                         
                                WRGLVPLVV
    *9'      1/       'UDIWUHVSRQVHVWRGLVFRYHU\TXHVWLRQVDQG                                
                                FRUUHVSRQGHQFHZLWK-0RUULVUHVDPH
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQVWDWXV                       
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                       
                                OLWLJDWLRQV  
    +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                     
                                QRWHVOLWLJDWLRQ  
    +5:      1/       &DOOZLWK-0RUULVUHGLVFRYHU\UHTXHVWVLQ                             
                                FRQVROLGDWHGQRWHVOLWLJDWLRQ  
    -$.      1/       ([WHQVLYHGUDIWLQJRIRSSRVLWLRQWRDUELWUDWLRQ                      
                                PRWLRQOHJDOUHVHDUFKUHJDUGLQJLVVXHVDQG
                                DUJXPHQWVIRUVDPHHPDLOVZLWKLQWHUQDOUHVHDUFK 
                                JURXSUHJDUGLQJLVVXHVIRUUHVHDUFKLQJDQGUHODWHG
                                PDWWHUV
    --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQFRQIFDOO                   
                                .URRSDQG.HDQHRQVDPH  
    --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQ                               
    -13      1/       5HYLHZRIHPDLOVIURP1'RQGHUR&RQIHUHQFH                             
                                ZLWK-RKQ$0RUULVUHJDUGLQJVDPH
    -$0      1/       7HOFZ/&DQW\UHGRFXPHQWUHYLHZ  WHOF                 
                                Z-6HHU\UHVWUDWHJ\IRUUHVSRQGLQJWRPRWLRQV 
                                  WHOFZ-3RPHUDQW]UHVWUDWHJ\IRU
                                UHVSRQGLQJWRPRWLRQV  UHYLHZGRFXPHQWV
                                  
    /6&      1/       %HJLQSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                             
    *9'      1/       &RUUHVSRQGHQFHUHUHVHDUFKLWHPVUHDUELWUDWLRQ                            
                                GHPDQG
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVGLVFRYHU\                                
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHVWDWXVRIQRWHV                              
                                OLWLJDWLRQDQGQH[WVWHSV




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       6HSWHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
    +5:      1/       *DWKHUGRFXPHQWVIRUGLVFRYHU\UHTXHVWVLQ                                  
                                FRQVROLGDWHGQRWHVOLWLJDWLRQ  
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                         
                                OLWLJDWLRQV  
    -$.      1/       5HYLHZDQGDQDO\]HLQLWLDOUHVHDUFKUHVXOWVRQLVVXHV                  
                                SHUWDLQLQJWRDUELWUDWLRQRSSRVLWLRQIURP-RQDWKDQ
                                .LPDQG3HWHU.HDQHH[WHQVLYHGUDIWLQJRI
                                DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOFDVHUHVHDUFKDQG
                                DQDO\VLVUHJDUGLQJDUJXPHQWVIRUVDPHFRQIHUZLWK 
                                -RQDWKDQ.LPDQG3HWHU.HDQHUHJDUGLQJVDPH
    -13      1/       &RQIHUHQFHZLWK-RUGDQ$.URRSUHJDUGLQJ                                  
                                RSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ
    -$0      1/       7HOFZ-6HHU\UHRSSRVLWLRQWRPRWLRQV                      
                                UHYLHZGRFXPHQWVDQGEHJLQSUHSDULQJIRU
                                GHSRVLWLRQV  
    *9'      1/       5HYLHZGLVFRYHU\UHVSRQVHVWRQRWHVOLWLJDWLRQ                               
    +5:      1/       &DOOZLWK-0RUULVDQG'6,UHGLVFRYHU\UHTXHVWVLQ                       
                                FRQVROLGDWHGQRWHVOLWLJDWLRQ  
    +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                       
                                QRWHVOLWLJDWLRQ  
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                OLWLJDWLRQV  
    -$.      1/       &RQWLQXHGUHVHDUFKDQGDQDO\VLVRIFDVHVLQ                            
                                FRQQHFWLRQZLWKDUELWUDWLRQRSSRVLWLRQVWUDWHJ\
                                GLVFXVVLRQZLWK-HII3RPHUDQW]UHJDUGLQJVDPH 
                                H[WHQVLYHDGGLWLRQDOGUDIWLQJDQGUHYLVLRQRI
                                DUELWUDWLRQRSSRVLWLRQ
    -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                     
                                WHOFZ-6HHU\UHVWDWXVDQGVWUDWHJ\IRUQRWHV
                                OLWLJDWLRQ  
    -$0      1/       &RPPXQLFDWLRQVZ-6HHU\'.ORV'1HZPDQ                             
                                UHUHVSRQVHVWRGLVFRYHU\  
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                OLWLJDWLRQV  
    -$.      1/       $GGLWLRQDOUHVHDUFKRQLVVXHVSHUWDLQLQJWR                            
                                DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOGUDIWLQJRI
                                RSSRVLWLRQHPDLOWR-HII3RPHUDQW]DQG-RKQ0RUULV
                                UHJDUGLQJVDPHZLWKH[SODQDWLRQRIDSSURDFKDQG 
                                UHODWHGVXJJHVWLRQV
    -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRDUELWUDWH                                   
    -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJ                                   
                                RSSRVLWLRQWRPRWLRQWRDUELWUDWH




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       6HSWHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
    -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVDQG-RUGDQ$                               
                                .URRSUHJDUGLQJUHVSRQVHWRPRWLRQWRDUELWUDWH
    -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                     
                                UHYLHZUHYLVHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                HPDLOVZ-6HHU\-3RPHUDQW]*'HPR+
                                :LQRJUDGUHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                WHOFZ-6HHU\UHZULWWHQUHVSRQVHVWRGLVFRYHU\
                                  WHOFZ-3RPHUDQW]UHRSSRVLWLRQVWR07'
                                DQGDUELWUDWLRQ  WHOFZ-3RPHUDQW]-.RRS
                                UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  
                                IXUWKHUUHYLVLRQVWRZULWWHQUHVSRQVHVWRGLVFRYHU\
                                  FRPPXQLFDWLRQVZ-6HHU\UHUHVSRQVHVWR 
                                ZULWWHQGLVFRYHU\  
    /6&      1/       &RQWLQXHGSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                           
    *9'      1/       5HYLHZUHVSRQVHWRPRWLRQWRGLVPLVVOLWLJDWLRQ                              
    +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                OLWLJDWLRQV  
    +5:      1/       *DWKHUSURGXFWLRQIRUFRQVROLGDWHGQRWHVGLVFRYHU\                      
                                 
    +5:      1/       'UDIWDQGUHYLHZ5 2VIRUGLVFRYHU\UHTXHVWVLQ                         
                                FRQVROLGDWHGQRWHVOLWLJDWLRQ  
    +5:      1/       6HQGRSSRVLQJFRXQVHO5 2VLQFRQVROLGDWHGQRWHV                            
                                OLWLJDWLRQ  
    +5:      1/       6HQGRSSRVLQJFRXQVHOSURGXFWLRQLQFRQVROLGDWHG                             
                                QRWHVOLWLJDWLRQ  
    -$.      1/       6WUDWHJ\GLVFXVVLRQZLWK-RKQ0RUULVDQG-HII                          
                                3RPHUDQW]UHJDUGLQJRSSRVLWLRQWRDUELWUDWLRQ
                                PRWLRQDQGUHODWHGPDWWHUVH[WHQVLYHDGGLWLRQDO
                                GUDIWLQJUHVHDUFKDQGUHYLHZRILVVXHVDQGSRUWLRQV
                                RIDUELWUDWLRQPRWLRQRSSRVLWLRQZRUNZLWK*UHJ
                                'HPRUHJDUGLQJFRQILUPDWLRQUHODWHGFLWDWLRQVDQG 
                                EDFNJURXQGIRUXVHLQRSSRVLWLRQDGGLWLRQDOGUDIWLQJ
                                DQGUHYLVLRQVWRDUELWUDWLRQRSSRVLWLRQ
    -13      1/       5HYLHZODWHVWYHUVLRQRIRSSRVLWLRQWRPRWLRQWR                           
                                DUELWUDWHDQGHPDLOVUHJDUGLQJVDPH
    -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRGLVPLVV                                     
    -0)      1/       5HYLHZUHVSRQVHVWRPRWLRQWRGLVPLVVDQG                                  
                                DUELWUDWLRQ
    -$0      1/       5HYLHZUHYLVHGUDIWRSSRVLWLRQWRPRWLRQWRFRPSHO                    
                                DUELWUDWLRQ  HPDLOVZ-6HHU\-3RPHUDQW]
                                -.RRS*'HPR+:LQRJUDGUHRSSRVLWLRQWR
                                PRWLRQWRFRPSHODUELWUDWLRQ  WHOFZ-6HHU\
                                UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  




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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                     ,QYRLFH 
                                                                                        6HSWHPEHU


                                                                                          +RXUV            5DWH         $PRXQW
                                WHOFZ-.RRSUHPRWLRQWRFRPSHODUELWUDWLRQ
                                  IXUWKHUUHYLHZDQGUHYLVLRQVWRRSSRVLWLRQWR
                                PRWLRQVWRGLVPLVVDQGWRFRPSHODUELWUDWLRQ  
                                FRPPXQLFDWLRQVZ+:LQRJUDG-.RRSUH
                                RSSRVLWLRQVWRPRWLRQWRGLVPLVVDQGWRFRPSHO
                                DUELWUDWLRQ  
    /6&      1/       3UHSDUHGUDIWGHFODUDWLRQLQVXSSRUWRIRSSRVLWLRQWR                        
                                0RWLRQWRFRPSHO$UELWUDWLRQDQG6WD\/LWLJDWLRQ
                                UHYLVHVDPHDQGSUHSDUHH[KLELWVWRVDPH
    *9'      1/       5HYLHZPRWLRQWRGLVPLVVUHVSRQVH                                             
    +5:      1/       'UDIWDQGILOHRSSRVLWLRQWRPRWLRQWRGLVPLVVLQ                        
                                QRWHVOLWLJDWLRQV  
    -$.      1/       ([WHQVLYHUHYLVLRQVUHYLHZDQGHGLWLQJRI                             
                                RSSRVLWLRQWRDUELWUDWLRQPRWLRQHGLWVDQGUHYLHZRI
                                GHFODUDWLRQLQVXSSRUWRIVDPHFRQIHURYHU
                                WHOHSKRQHDQGHPDLOVZLWK-RKQ0RUULVDQG-HII
                                3RPHUDQW]UHJDUGLQJVDPHILQDOHGLWVDQG
                                SUHSDUDWLRQRIRSSRVLWLRQIRUILOLQJDQGVHUYLFH
                                VXSHUYLVHILOLQJDQGVHUYLFHRIVDPHZLWKGUDIWLQJRI
                                FRYHUUHVSRQVHSHUORFDOUXOHV
    -$0      1/       5HYLHZGRFXPHQWVDQGZULWWHQUHVSRQVHVWR                               
                                GLVFRYHU\VHUYHGE\DOOGHIHQGDQWV  HPDLOWR
                                GHIHQVHFRXQVHOUHGHILFLHQFLHVLQZULWWHQUHVSRQVHV 
                                WRGLVFRYHU\  HPDLOWR-6HHU\76XUJHQW'
                                .ORV-3RPHUDQW]*'HPR+:LQRJUDGUH
                                GHIHQGDQWV GHILFLHQFLHVLQGLVFRYHU\  WHOF-
                                6HHU\UHGLVFRYHU\LQWKHQRWHVOLWLJDWLRQ  
    *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQ                                
                                GLVFRYHU\
    -$0      1/       7HOFZ*'HPR:LOPHUUH:DWHUKRXVHDVD                           
                                ZLWQHVVDQGUHJXODWRU\LVVXHV  HPDLOWR 
                                GHIHQVHFRXQVHOUHGLVFRYHU\LVVXHVDQGGHSRVLWLRQV
                                  HPDLOWR''DQGHQHDX-3RPHUDQW]*
                                'HPRUH:DWHUKRXVHGHSRVLWLRQ 
    *9'      1/       &RQIHUHQFHZLWK:LOPHU+DOHDQG-0RUULVUH                                  
                                GLVFRYHU\LVVXHVLQQRWHVOLWLJDWLRQ
    +5:      1/       &RPPXQLFDWHZLWK5REHUW+DOIIRUSURGXFWLRQUH                              
                                FRQVROLGDWHGQRWHVSURGXFWLRQ  

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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    October 07, 2021
Board of Directors                                                  Invoice 128606
Highland Capital Management LP                                      Client   36027
300 Crescent Court ste. 700                                         Matter   00002
Dallas, TX 75201
                                                                             JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/07/2021
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                                 Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                      October 31, 2021
Board of Directors                                                    Invoice 128950
Highland Capital Management LP                                        Client   36027
100 Crescent Court, Suite 1850                                        Matter   00003
Dallas, TX 75201
                                                                               JNP

RE: Post-Effective Date

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
                FEES                                                 $1,031,845.50
                EXPENSES                                              $125,863.23
                LESS COURTESY DISCOUNT                                $50,000.00
                TOTAL CURRENT CHARGES                                $1,107,708.73

                TOTAL BALANCE DUE                                    $1,107,708.73
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Highland Capital Management LP                                       Invoice 128950
36027 - 00003                                                        October 31, 2021


  Summary of Services by Task Code
  Task Code         Description                              Hours                        Amount

 2015               2015.3                                   12.50                      $12,172.00

 BCC                HCMLP v. Advisors 21-03010               45.10                      $32,016.00

 BL                 Bankruptcy Litigation [L430]              6.60                       $7,561.50

 CA                 Case Administration [B110]               69.40                      $57,549.50

 CNFM               Appeal of Conf. Ordr Mootness            57.80                      $68,583.00

 CO                 Claims Admin/Objections[B310]            33.80                      $35,625.00

 CON2               Appeal of 2nd Contempt Order              1.10                       $1,264.50

 CONF               Appeal of Confirmation Order             56.50                      $66,291.50

 CP                 Compensation Prof. [B160]                34.80                      $32,881.50

 CPO                Comp. of Prof./Others                    15.80                      $12,493.50

 CT                 Claimant Trust/Board                      1.60                       $1,520.00

 DAFC               HarborVest Claims DC                     19.80                      $15,962.50

 DON                in re Dondero (Texas Action)             10.60                      $11,801.00

 EB                 Employee Benefit/Pension-B220             1.90                       $1,805.00

 ECO                Objection to Employee Claims             33.20                      $31,830.00

 ITO                Indemnity Trust Order                    48.10                      $49,813.00

 LTC                Litigation Trust Complaint               33.30                      $33,080.50

 NBCO               Objection to Nexbank Claim               10.50                       $9,266.00

 NL                 Notes Litigation                        396.20                  $375,653.50

 NT                 Non-Working Travel                        6.60                       $8,217.00

 OIC                Other Insider Claims                     31.50                      $33,677.50

 PCMG               PCMG Trading                             26.00                      $20,450.00
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Highland Capital Management LP                                                                   Invoice 128950
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                                                                                         Hours           Rate       Amount
                                agreement and next steps

                                                                                         10.50                      $9,266.00

  Notes Litigation
 09/15/2021   CHM     NL        Review results of privilege review and check              2.00        750.00        $1,500.00
                                documents marked for production or withholding.
                                Run production of NexPoint results and email J.
                                Morris and H. Winograd re same. (No Charge)
 09/15/2021   CHM     NL        Review email from H. Winograd and reply. (No              0.10        750.00          $75.00
                                Charge)
 09/23/2021   CHM     NL        Review email from H. Winograd and reply. (No              0.10        750.00          $75.00
                                Charge)
 09/30/2021   CHM     NL        Review documents and run production of                    2.30        750.00        $1,725.00
                                consolidated notes litigation search results; email H.
                                Winograd re same. (No Charge)
 10/01/2021   JAM     NL        Review discovery responses and pleadings and              3.10      1245.00         $3,859.50
                                prepare Rule 30(b)(6) deposition notices for HCRE,
                                HCMS, and Nexpoint (2.8); communications w/ J.
                                Seery, T. Surgent, D. Klos, J. Pomerantz, G. Demo,
                                H. Winograd re: deposition notices (0.3).
 10/01/2021   HRW     NL        Communicate with Robert Half for production re:           0.50        695.00         $347.50
                                consolidated notes production (0.5).
 10/01/2021   HRW     NL        Oversee and review production re: re: consolidated        0.50        695.00         $347.50
                                notes production (0.5).
 10/02/2021   JAM     NL        Tel c. w/ G. Demo re: discovery, strategy (0.4); draft    2.60      1245.00         $3,237.00
                                deposition notices for J. Dondero, N. Dondero, F.
                                Waterhouse, Dugaboy, and HCMFA (2.1); e-mails
                                w/ J. Pomerantz, G. Demo, H. Winograd, Z.
                                Annable re: deposition notices (0.1).
 10/02/2021   GVD     NL        Conference with J. Morris about notes litigation          0.40        950.00         $380.00
                                discovery issues
 10/02/2021   GVD     NL        Review deposition notices                                 0.50        950.00         $475.00
 10/03/2021   JAM     NL        Prepare deposition notices for HCRE, HCMS,                3.90      1245.00         $4,855.50
                                NexPoint and subpoena for DC Sauter, and revise
                                deposition notices for F. Waterhouse and HCMFA
                                (3.6); e-mails w/ J. Seery, T. Surgent, D. Klos, J.
                                Pomerantz, G. Demo, H. Winograd re: deposition
                                notices (0.2); tel c. w/ J. Seery, G. Demo re:
                                deposition notices (0.1).
 10/03/2021   GVD     NL        Review discovery requests and correspondence re           0.30        950.00         $285.00
                                same
 10/03/2021   HRW     NL        Review and edit deposition notices for notes              1.00        695.00         $695.00
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                                                                                           Hours           Rate       Amount
                                litigation (1.0).
 10/04/2021   JAM     NL        Review/revise/finalize deposition notices,                  1.80      1245.00         $2,241.00
                                subpoenas, and notices of subpoenas (1.1); e-mail to
                                defense counsel, J. Pomerantz, G. Demo, H.
                                Winograd, Z. Annable re: deposition notices,
                                subpoenas, notices of subpoena and related matters
                                (0.3); e-mail to Z. Annable, J. Pomerantz, G. Demo,
                                H. Winograd re: service of the deposition notices
                                and subpoenas (0.1); tel c. w/ J. Seery re: status,
                                discovery (0.3).
 10/04/2021   HRW     NL        Review production re: consolidated notes production         0.50        695.00         $347.50
                                (0.5).
 10/04/2021   HRW     NL        Communicate with Robert Half re: production for             0.20        695.00         $139.00
                                Employee Claims (0.2).
 10/05/2021   JAM     NL        Tel c. w/ H. Winograd re: discovery, Aigen e-mail           1.70      1245.00         $2,116.50
                                (0.5); tel c. w/ D. Rukavina re: discovery (0.3); tel c.
                                w/ J. Seery re: discovery, status (0.5); e-mails w/ D.
                                Rukavina, D. Deitsch-Perez re: discovery,
                                depositions (0.4).
 10/05/2021   GVD     NL        Correspondence with Quinn re notes litigation               0.30        950.00         $285.00
 10/05/2021   HRW     NL        Call with J. Morris re: discovery issues in notes           0.50        695.00         $347.50
                                litigation (0.5).
 10/05/2021   HRW     NL        Review discovery issues in notes litigation (0.3).          0.30        695.00         $208.50
 10/06/2021   JAM     NL        E-mail to D. Deitz-Perez, D. Rukavina re: discovery         1.60      1245.00         $1,992.00
                                (0.3); e-mail to D. Dandeneau re: Waterhouse
                                deposition (0.1); e-mail to M. Aigen re: discovery
                                issues (0.3); e-mail to defense counsel re: response
                                to various discovery issues (0.9).
 10/06/2021   LSC     NL        Research, correspondence, and review of discovery.          2.10        460.00         $966.00
 10/06/2021   GVD     NL        Correspondence with litigation trustee re outstanding       0.20        950.00         $190.00
                                notes
 10/06/2021   HRW     NL        Review responses and production re: discovery               0.80        695.00         $556.00
                                requests in notes litigation (0.8).
 10/06/2021   HRW     NL        Respond to J. Morris email re: discovery issues in          0.50        695.00         $347.50
                                notes litigation (0.5).
 10/06/2021   HRW     NL        Review emails regarding 30(b)(6) deposition issues          0.20        695.00         $139.00
                                and scheduling (0.2).
 10/06/2021   HRW     NL        Send opposing counsel supplemental notes litigation         0.10        695.00          $69.50
                                production (0.1).
 10/06/2021   HRW     NL        Prepare supplemental production for notes litigation        0.80        695.00         $556.00
                                (0.8).
 10/07/2021   JAM     NL        Review/revise e-mail to defense counsel re:                 0.40      1245.00          $498.00
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36027 - 00003                                                                                    October 31, 2021


                                                                                         Hours           Rate       Amount
                                discovery (0.4).
 10/07/2021   JAM     NL        E-mail to Quinn re: discovery in Notes Litigation         0.10      1245.00          $124.50
                                (0.1);
 10/07/2021   LSC     NL        Research, correspondence, and review of discovery.        2.30        460.00        $1,058.00
 10/07/2021   GVD     NL        Correspondence with Quinn re notes collection             0.20        950.00         $190.00
                                issues
 10/07/2021   HRW     NL        Email J. Morris re: discovery issues in notes             0.10        695.00          $69.50
                                litigation (0.1).
 10/07/2021   HRW     NL        Email DSI re: re: discovery issues in notes litigation    0.10        695.00          $69.50
                                (0.1).
 10/08/2021   JAM     NL        Analyze NexPoint's Rule 30(b)(6) deposition notice        2.70      1245.00         $3,361.50
                                and e-mail to J. Seery, T. Surgent, J. Pomerantz, G.
                                Demo, H. Winograd re: same (1.4); e-mails to J.
                                Seery, T. Surgent, D. Rukavina, H. Winograd re:
                                objections to NexPoint's Rule 30(b)(6) deposition
                                notice (0.4); revise deposition notices for J.
                                Dondero, HCRE, HCMS, and NexPoint (0.2);
                                e-mails w/ Z. Annable, H. Winograd re: revised
                                deposition notices for J. Dondero, HCRE, HCMS,
                                and NexPoint (0.1); e-mails w/ D. Klos, T. Surgent,
                                H. Winograd re: documents and information
                                concerning J. Dondero compensation, loan history
                                (0.4); review defendants' document production (0.2).
 10/08/2021   HRW     NL        Review 30(b)(6) notices for consolidated notes            0.10        695.00          $69.50
                                litigation (0.1).
 10/08/2021   HRW     NL        Review DSI email and production re: Dondero               0.30        695.00         $208.50
                                compensation (0.3).
 10/08/2021   HRW     NL        Review production from defendants in consolidated         0.20        695.00         $139.00
                                notes litigation (0.2).
 10/09/2021   JAM     NL        E-mails to TSG re: depositions (0.3); e-mail to H.        5.90      1245.00         $7,345.50
                                Winograd re: additional document production (0.1);
                                e-mails w/ D. Klos, T. Surgent, H, Winograd re:
                                Dondero loans and payment history (0.2); e-mails w/
                                J. Seery, D, Klos re: cost/value of portfolio
                                companies (0.1); begin Nancy Dondero deposition
                                outline (2.3); tel c. w/ J. Seery re: notes litigation
                                (0.2); review documents/transcripts (2.7).
 10/10/2021   JAM     NL        Analyze Rule 30(b)(6) Notice of Dondero, HCRE             2.10      1245.00         $2,614.50
                                and HCMS and prepare draft objections (1.8); tel c.
                                w/ J. Seery re: litigation matters (0.3).
 10/11/2021   JAM     NL        E-mails w/ D. Rukavina, D. Deitz-Perez re:                0.40      1245.00          $498.00
                                depositions (0.2); e-mails w/ D. Klos, T. Conouyer
                                re: Waterhouse roles (0.1); e-mails w/ H. Winograd,
                                L. Canty re: supplemental document production
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Highland Capital Management LP                                                                 Invoice 128950
36027 - 00003                                                                                  October 31, 2021


                                                                                       Hours           Rate       Amount
                                (0.1).
 10/11/2021   LSC     NL        Retrieve and review Dondero's supplemental              0.50        460.00         $230.00
                                production.
 10/11/2021   HRW     NL        Review email from counsel re: deposition schedule       0.10        695.00          $69.50
                                in consolidated notes litigation (0.1).
 10/11/2021   HRW     NL        Review supplemental production in consolidated          0.50        695.00         $347.50
                                notes litigation (0.5).
 10/12/2021   JAM     NL        E-mails w/ defense counsel re: discovery (0.3);         4.60      1245.00         $5,727.00
                                e-mails w/ D. Klos, L. Canty, H. Winograd re:
                                supplemental document production (0.5); prepare for
                                depositions (3.4); e-mails w/ defense counsel re:
                                depositions (0.2); tel c. w/ J. Seery, D. Klos re:
                                obligors' payments on Notes (0.2).
 10/12/2021   LSC     NL        Preparation of supplemental productions (2),            4.20        460.00        $1,932.00
                                including redactions to same and correspondence
                                regarding the same.
 10/12/2021   LSC     NL        Coordinate and assist with retrieval and preparation    0.50        460.00         $230.00
                                of documents with respect to notes litigation for J.
                                Morris.
 10/12/2021   HRW     NL        Review supplemental production for consolidated         1.80        695.00        $1,251.00
                                notes litigation (1.8).
 10/12/2021   HRW     NL        Send counsel supplemental production for                0.20        695.00         $139.00
                                consolidated notes litigation (0.2).
 10/12/2021   HRW     NL        Call with DSI re: backup documentation for              0.50        695.00         $347.50
                                demonstrative chart showing Trussway, MGM,
                                Cornerstone valuations in consolidated notes
                                litigation (0.5).
 10/12/2021   HRW     NL        Email J. Morris, G. Demo, J. Pomerantz, and client      0.20        695.00         $139.00
                                re: backup documentation for demonstrative chart
                                showing Trussway, MGM, Cornerstone valuations
                                in consolidated notes litigation (0.2).
 10/12/2021   HRW     NL        Email J. Morris re: supplemental productions for        0.20        695.00         $139.00
                                consolidated notes litigations (0.2).
 10/13/2021   JAM     NL        Prepare for meeting with J. Seery concerning            6.80      1245.00         $8,466.00
                                depositions, including analysis of issues concerning
                                NexPoint (1.2); e-mails to J. Seery, T. Surgent, D.
                                Klos re: deposition preparation (0.3); tel c. w/ J.
                                Seery, D. Klos, T. Surgent, G. Demo, H, Winograd
                                re: preparation for depositions (1.5); letters to
                                defense counsel re: documents (0.2); prepare for
                                depositions (3.6).
 10/13/2021   GVD     NL        Conference with J. Seery, D. Klos and PSZJ re           1.60        950.00        $1,520.00
                                preparation for depositions
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Highland Capital Management LP                                                                      Invoice 128950
36027 - 00003                                                                                       October 31, 2021


                                                                                            Hours           Rate       Amount
 10/13/2021   GVD     NL        Conference with J. Morris re status of notes                 0.30        950.00         $285.00
                                litigation and next steps
 10/13/2021   GVD     NL        Review transcripts re notes litigation issues                0.10        950.00          $95.00
 10/13/2021   HRW     NL        Review defendants' R&Os to Highland's discovery              1.50        695.00        $1,042.50
                                requests in notes litigations (1.5).
 10/13/2021   HRW     NL        Email J. Morris re: defendants' R&Os to Highland's           0.20        695.00         $139.00
                                discovery requests in notes litigations (0.2).
 10/13/2021   HRW     NL        Call with J. Seery and D. Klos re: deposition prep           1.20        695.00         $834.00
                                for notes litigation (1.2).
 10/13/2021   HRW     NL        Prepare for call with J. Seery and D. Klos re:               1.00        695.00         $695.00
                                deposition prep for notes litigation (1.0).
 10/13/2021   HRW     NL        Email J. Morris re: supplemental production in notes         0.10        695.00          $69.50
                                litigation (0.1).
 10/13/2021   HRW     NL        Send opposing counsel supplemental production in             0.20        695.00         $139.00
                                notes litigation (0.2).
 10/14/2021   JAM     NL        E-mails w/ defense counsel re: depositions,                  5.90      1245.00         $7,345.50
                                discovery, and related matters (0.4); prepare for
                                depositions (5.5).
 10/14/2021   LSC     NL        Assist with research, retrieval, and review of               5.90        460.00        $2,714.00
                                discovery documents in connection with upcoming
                                depositions.
 10/14/2021   LSC     NL        Research and correspondence regarding certain                0.50        460.00         $230.00
                                management documents for J. Morris.
 10/15/2021   JNP     NL        Conference with John A. Morris regarding                     0.20      1295.00          $259.00
                                upcoming depositions and issues relating to notes
                                litigation including hearing coverage.
 10/15/2021   JNP     NL        Review emails regarding notes depositions and                0.10      1295.00          $129.50
                                discovery.
 10/15/2021   JAM     NL        Tel c. w/ J. Seery, D. Klos, G. Demo, H. Winograd            6.80      1245.00         $8,466.00
                                re: preparation for depositions (1.7); tel c. w/ H.
                                Winograd, L. Canty re: depositions, exhibits, and
                                related matters (0.2); prepare for depositions (3.1);
                                e-mails to L. Canty, H. Winograd re: deposition
                                exhibits (0.4); tel c. w/ G. Demo re: depositions
                                (0.2); tel c. w/ J. Pomerantz re: notes litigation (0.3);
                                e-mail to J. Seery, D. Klos re: prior court filings
                                (0.5); e-mail to J. Seery, D. Klos, H. Winograd re:
                                LP Agreement (0.3); e-mail to J. Seery, D. Klos, H.
                                Winograd re: management representation letters
                                (0.1).
 10/15/2021   LSC     NL        Research, retrieve, and review documents in                  3.10        460.00        $1,426.00
                                connection with Notes Litigation and
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Highland Capital Management LP                                                                  Invoice 128950
36027 - 00003                                                                                   October 31, 2021


                                                                                        Hours           Rate         Amount
                                correspondence regarding the same (2.6); research
                                and correspondence regarding prior productions (.5).
 10/15/2021   GVD     NL        Attend conference re preparation for notes litigation    1.60        950.00         $1,520.00
 10/15/2021   HRW     NL        Review productions from Highland to defendants in        1.50        695.00         $1,042.50
                                notes litigations (1.5).
 10/15/2021   HRW     NL        Communicate with L. Canty re: productions from           0.40        695.00          $278.00
                                Highland to defendants in notes litigations (0.4).
 10/15/2021   HRW     NL        Call with J. Morris, G. Demo, J. Seery, D. Klos re:      1.60        695.00         $1,112.00
                                deposition prep for notes litigation (1.6).
 10/15/2021   HRW     NL        Call with J. Morris and L. Canty re: deposition prep     0.20        695.00          $139.00
                                for notes litigation (0.2).
 10/15/2021   JAK     NL        Research US Supreme Court case regarding                 1.10      1100.00          $1,210.00
                                arbitration and analyze implications for opposing
                                motion to compel arbitration (0.8); confer with Jeff
                                Pomerantz regarding same (0.3).
 10/16/2021   JAM     NL        Prepare for depositions (7.5); e-mail to HCMLP,          7.80      1245.00          $9,711.00
                                PSZJ re: Deposition Outline for Nancy Dondero
                                (0.1); e-mail to L. Canty, H. Winograd re: deposition
                                exhibits (0.1); tel c. w/ H. Winograd re: document
                                production (0.1).
 10/16/2021   LSC     NL        Preparation of exhibits in connection with upcoming      8.50        460.00         $3,910.00
                                depositions and research discovery documents
                                regarding the same (4.9); preparation of materials in
                                connection with hearing on motions to dismiss,
                                including legal research regarding the same (3.6)
 10/16/2021   HRW     NL        Review supplemental HCMFA production for notes           3.80        695.00         $2,641.00
                                litigation (3.8).
 10/16/2021   HRW     NL        Communicate with L. Canty re: supplemental               0.40        695.00          $278.00
                                HCMFA production for notes litigation (0.4).
 10/16/2021   HRW     NL        Email with C. Mackle re: supplemental HCMFA              0.20        695.00          $139.00
                                production for notes litigation (0.2).
 10/17/2021   JNP     NL        Review emails regarding depositions.                     0.10      1295.00           $129.50
 10/17/2021   JAM     NL        Prepare for depositions (9.2); multiple calls with J.   11.00      1245.00         $13,695.00
                                Seery re: depositions, facts and strategy for Notes
                                Litigation (1.2); e-mails w H. Winograd, L. Canty
                                re: exhibits (0.3); e-mails w/ defense counsel, court
                                reporter re: depositions (0.3).
 10/17/2021   LSC     NL        Preparation of exhibits in connection with upcoming      2.00        460.00          $920.00
                                depositions and research discovery documents
                                regarding the same.
 10/17/2021   HRW     NL        Review supplemental HCMFA production for notes           8.00        695.00         $5,560.00
                                litigation (8.0).
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                                                                                         Hours           Rate         Amount
 10/17/2021   HRW     NL        Review emails from J. Morris and DSI re: hot              0.80        695.00          $556.00
                                documents for depositions in notes litigation (0.8).
 10/17/2021   HRW     NL        Send email to J. Morris re: document productions          0.20        695.00          $139.00
                                from Highland to defendants in notes litigations
                                (0.2).
 10/18/2021   JNP     NL        Review motion to dismiss and opposition regarding         1.00      1295.00          $1,295.00
                                notes litigation.
 10/18/2021   JNP     NL        Conference with John A. Morris and then J. Seery          0.90      1295.00          $1,165.50
                                regarding Nancy Dondero deposition.
 10/18/2021   JAM     NL        Prepare for depositions (5.8); tel c. w/ G. Demo re:     13.90      1245.00         $17,305.50
                                depositions (0.2); Nancy Dondero deposition (7.0);
                                tel c. w/ J. Seery (partial), J. Pomerantz re: Nancy
                                Dondero deposition (0.8); tel c. w/ D. Newman re:
                                Nancy Dondero deposition (0.1).
 10/18/2021   LSC     NL        Prepare for and assist at deposition of Susan             7.90        460.00         $3,634.00
                                Dondero.
 10/18/2021   GVD     NL        Correspondence with L. Canty re deposition issues         0.10        950.00           $95.00
 10/18/2021   GVD     NL        Conference with J. Morris re notes litigation strategy    0.20        950.00          $190.00
 10/18/2021   GVD     NL        Attend deposition of N. Dondero (partial)                 4.50        950.00         $4,275.00
 10/18/2021   GVD     NL        Review WilmerHale analysis of Investment                  0.20        950.00          $190.00
                                Company Act issues
 10/18/2021   HRW     NL        Review supplemental HCMFA production for notes            3.50        695.00         $2,432.50
                                litigation (3.5).
 10/18/2021   HRW     NL        Deposition of Nancy Dondero for notes litigation          6.00        695.00         $4,170.00
                                (6.0).
 10/18/2021   HRW     NL        Review Waterhouse deposition outline (0.5).               0.50        695.00          $347.50
 10/19/2021   JNP     NL        Continue to prepare for hearing on motion to              1.40      1295.00          $1,813.00
                                dismiss.
 10/19/2021   JNP     NL        Review and respond to email regarding use of              0.10      1295.00           $129.50
                                Dondero plan proposal in course of litigation.
 10/19/2021   JAM     NL        Prepare for Waterhouse deposition (3.6);                 14.60      1245.00         $18,177.00
                                Waterhouse deposition (including multiple calls with
                                G. Demo and/or H. Winograd) (10.2); tel c. w/ J.
                                Seery re: Waterhouse deposition (0.1); tel c. w/ G.
                                Demo, H. Winograd re: Waterhouse deposition
                                (0.3); tel c. w/ J. Seery re: status, strategy (0.4).
 10/19/2021   LSC     NL        Prepare for and assist at deposition of Frank            11.30        460.00         $5,198.00
                                Waterhouse.
 10/19/2021   GVD     NL        Conference with J. Seery re issues re Dondero             0.20        950.00          $190.00
                                deposition
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                                                                                          Hours           Rate       Amount
 10/19/2021   GVD     NL        Review issues re application of mediation privilege        1.10        950.00        $1,045.00
 10/19/2021   GVD     NL        Multiple conferences with H. Winograd and J.               0.60        950.00         $570.00
                                Morris re status of Waterhouse deposition
 10/19/2021   GVD     NL        Attend Waterhouse deposition (partial)                     4.60        950.00        $4,370.00
 10/19/2021   HRW     NL        Deposition of Frank Waterhouse for notes litigation        9.50        695.00        $6,602.50
                                (9.5).
 10/19/2021   HRW     NL        Review Waterhouse deposition outline (1.5).                1.50        695.00        $1,042.50
 10/19/2021   HRW     NL        Review supplemental HCMFA production for notes             1.80        695.00        $1,251.00
                                litigation (1.8).
 10/19/2021   HRW     NL        Calls with G. Demo and J. Morris re: Waterhouse            0.50        695.00         $347.50
                                deposition (0.5).
 10/19/2021   HRW     NL        Call with J. Morris re: Waterhouse deposition (0.1).       0.10        695.00          $69.50
 10/19/2021   HRW     NL        Email with G. Demo and J. Elkin re: mediation              0.30        695.00         $208.50
                                privilege (0.3).
 10/19/2021   HRW     NL        Research issue of FRE 408 and use of documents             0.30        695.00         $208.50
                                from mediation (0.3).
 10/20/2021   JAM     NL        Prepare for Dondero deposition (4.2); e-mails w/ L.        6.80      1245.00         $8,466.00
                                Canty re: exhibits for Dondero deposition (0.2);
                                Dondero deposition (cancelled) (0.2); tel c. w/ J.
                                Seery re: notes litigation (0.3); e-mails w/ court
                                reporter re: Seery deposition (0.1); e-mails w/ D.
                                Rukavina, H. Winograd re: discovery (0.6); tel c. w/
                                J. Seery re: notes litigation (0.5); tel c. w/ G. Demo
                                re: notes litigation (0.1); tel c. w/ D. Klos, K.
                                Hendrix re: depositions in notes litigation (0.2); tel
                                c. w/ J. Seery re: notes litigation (0.3); tel c. w/ B.
                                Sharp re: forensic analysis of notes (0.1).
 10/20/2021   LSC     NL        Prepare for anticipated Dondero and related entities       1.90        460.00         $874.00
                                deposition (ultimately canceled).
 10/20/2021   GVD     NL        Correspondence with J. Pomerantz re mediation              0.10        950.00          $95.00
                                issues
 10/20/2021   GVD     NL        Correspondence with H. Winograd re HCMFA notes             0.10        950.00          $95.00
                                litigation
 10/20/2021   HRW     NL        Review HCMFA discovery in notes litigation (0.3).          0.30        695.00         $208.50
 10/20/2021   HRW     NL        Email G. Demo re: HCMFA adversary proceeding               0.10        695.00          $69.50
                                (0.1).
 10/20/2021   HRW     NL        Email J. Morris re: HCMFA supplemental discovery           0.10        695.00          $69.50
                                in notes litigation (0.1).
 10/20/2021   HRW     NL        Review email from J. Morris re: document requests          0.10        695.00          $69.50
                                to HCMFA in notes litigation (0.1).
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                                                                                               Hours           Rate         Amount
 10/20/2021   HRW     NL        Review email from HCMFA counsel re: Highland's                  0.10        695.00           $69.50
                                document requests to HCMFA in notes litigation
                                (0.1).
 10/21/2021   JNP     NL        Continue to prepare for motion to dismiss hearing.              0.70      1295.00           $906.50
 10/21/2021   JAM     NL        E-mail to J. Vaughn, J. Seery, B. Sharp re: metadata            8.30      1245.00         $10,333.50
                                for promissory notes (0.2); meet w/ J. Seery to
                                prepare for deposition (0.8); review audited
                                financials concerning "practice of forgivable
                                loans" (0.6); tel c. w/ J. Seery, D. Klos re: "practice
                                of forgivable loans" (0.1); prepare for J. Seery
                                deposition (1.6); Seery deposition (4.8); tel c. w/ J.
                                Pomerantz re: Seery deposition (0.2).
 10/21/2021   GVD     NL        Attend J. Seery deposition (partial)                            2.10        950.00         $1,995.00
 10/21/2021   HRW     NL        Deposition of Jim Seery for notes litigation (3.0).             3.00        695.00         $2,085.00
 10/21/2021   HRW     NL        Email J. Pomerantz re: notes litigation MTD (0.1).              0.10        695.00           $69.50
 10/21/2021   HRW     NL        Review notes litigation MTD (0.2).                              0.20        695.00          $139.00
 10/21/2021   HRW     NL        Review J. Morris email re: legal research for MSJ               0.10        695.00           $69.50
                                and notes litigation (0.1).
 10/22/2021   JAM     NL        E-mail to D. Dandeneau re: Waterhouse transcript                3.70      1245.00          $4,606.50
                                (0.2); e-mails w/ D. Klos re: proof of payment on
                                loans (0.3); tel c. w/ J. Seery re: Seery deposition
                                (0.2); e-mails w/ J. Vaughn, T. Surgent, G. Demo,
                                H. Winograd re: metadata for the notes (0.4); tel c.
                                w/ J. Vaughn, T. Surgent re: metadata for the notes
                                (0.3); prepare for depositions (1.7); e-mail to L.
                                Canty re: proof of payment document production
                                (0.2); tel c. w/ J. Seery re: notes litigation (0.2); tel c.
                                w/ J. Seery re: notes litigation (0.2).
 10/22/2021   GVD     NL        Conference with J. Morris and J. Pomerantz re open              0.50        950.00          $475.00
                                issues in notes litigation
 10/23/2021   JAM     NL        E-mail to defense counsel re: discovery (0.4); e-mail           3.50      1245.00          $4,357.50
                                to D. Deitz-Perez re: costs for cancelling Dondero
                                deposition (0.1); e-mails w/ T. Surgent, P. Giep re:
                                document production (0.2); prepare for depositions
                                (2.7); tel c. w/ J. Seery re: facts, status, strategy of
                                notes litigation (0.1).
 10/24/2021   JAM     NL        Review documents and prepare for depositions                    4.30      1245.00          $5,353.50
                                (including sending documents to L. Canty, H.
                                Winograd for production) (4.0); tel c. w/ J. Seery re:
                                Notes Litigation facts and status (0.3).
 10/24/2021   HRW     NL        Draft second HCMFA notes complaint (3.0).                       3.00        695.00         $2,085.00
 10/24/2021   HRW     NL        Review documents for notes production (0.2).                    0.20        695.00          $139.00
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                                                                                         Hours           Rate       Amount
 10/24/2021   JAK     NL        Additional case research in preparation for hearing       1.80      1100.00         $1,980.00
                                on motion to compel arbitration (1.4); emails with
                                Jeff Pomerantz regarding same (0.4).
 10/25/2021   JNP     NL        Continue to prepare for oral argument on motion to        1.00      1295.00         $1,295.00
                                dismiss.
 10/25/2021   JNP     NL        Review emails regarding notes litigation discovery.       0.10      1295.00          $129.50
 10/25/2021   PJJ     NL        Telephone conference with John Morris regarding           3.50        460.00        $1,610.00
                                document production (.2); review and redact
                                documents and prepare for production (3.3).
 10/25/2021   JAM     NL        Work on Dondero deposition outline (5.3); tel c. w/       8.00      1245.00         $9,960.00
                                J. Seery re: notes litigation (0.1); communications w/
                                H. Winograd, P. Jeffries re: document production
                                (0.3); prep session w/ D. Klos, K. Hendrix, H.
                                Winograd (1.5); e-mail to defense counsel re:
                                document production (0.3); e-mails w/ defense
                                counsel re: deposition schedule (0.1); tel c. w/ H.
                                Winograd re: notes litigation (0.2); review HCMFA
                                document production (0.2).
 10/25/2021   GVD     NL        Review limited partnership agreement re fiduciary         0.40        950.00         $380.00
                                duty issues and correspondence with J. Pomerantz re
                                same
 10/25/2021   GVD     NL        Review and comment on new note adversary for              0.30        950.00         $285.00
                                HCMFA
 10/25/2021   HRW     NL        Review HCMFA supplemental documents (2.5).                2.50        695.00        $1,737.50
 10/25/2021   HRW     NL        Review HCRE supplemental documents (1.5).                 1.50        695.00        $1,042.50
 10/25/2021   HRW     NL        Call with J. Morris re: Hendrix and Klos depo prep        0.10        695.00          $69.50
                                (0.1).
 10/25/2021   HRW     NL        Call with J. Morris, D. Klos, K. Hendrix re: depo         1.50        695.00        $1,042.50
                                prep (1.5).
 10/25/2021   HRW     NL        Review HCMFA supplemental production (0.3).               0.30        695.00         $208.50
 10/25/2021   HRW     NL        Review notes litigation supplemental production           0.30        695.00         $208.50
                                (0.3).
 10/25/2021   HRW     NL        Edit and review HCMFA second notes complaint              0.50        695.00         $347.50
                                (0.5).
 10/25/2021   HRW     NL        Email J. Morris re: HCMFA notes discovery (0.2).          0.20        695.00         $139.00
 10/25/2021   HRW     NL        Research issues for summary judgment in notes             1.50        695.00        $1,042.50
                                litigation (1.5).
 10/26/2021   JNP     NL        Conference with John A. Morris regarding                  0.40      1295.00          $518.00
                                depositions and strategy in notes litigation.
 10/26/2021   JNP     NL        Continue to review cases regarding preparation for        1.10      1295.00         $1,424.50
                                hearing on motion to dismiss.
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                                                                                        Hours           Rate         Amount

 10/26/2021   JNP     NL        Conference with John A. Morris regarding                 0.30      1295.00           $388.50
                                depositions.
 10/26/2021   JAM     NL        Review of transcripts and begin outlining                9.20      1245.00         $11,454.00
                                issues/facts (3.2); meet w/ D. Klos, K. Hendrix to
                                prepare for depositions (2.7); tel c. w/ J. Pomerantz
                                re: notes litigation (0.4); prepare for depositions,
                                including review of expert report (1.8); e-mails w/
                                defense counsel re: discovery (0.4); meet w/ D. Klos
                                re: Dondero compensation (0.4); tel c. w/ J.
                                Pomerantz re: Dondero compensation and expert
                                issues (0.3).
 10/26/2021   GVD     NL        Conference with J. Morris and D. Klos re                 0.40        950.00          $380.00
                                preparation for Klos deposition
 10/26/2021   HRW     NL        Research issues for consolidation of cases (2.0).        2.00        695.00         $1,390.00
 10/26/2021   HRW     NL        Draft errata for opposition to MTD (1.2).                1.20        695.00          $834.00
 10/26/2021   HRW     NL        Review notes litigation supplemental HCRE                0.80        695.00          $556.00
                                production (0.8).
 10/26/2021   HRW     NL        Review J. Morris email to counsel re: Dondero            0.10        695.00           $69.50
                                production in notes litigation (0.1).
 10/26/2021   HRW     NL        Review email from counsel re: Dondero notes              0.10        695.00           $69.50
                                production in notes litigation (0.1).
 10/26/2021   HRW     NL        Review Dondero responses to discovery requests in        0.20        695.00          $139.00
                                notes litigation (0.2).
 10/26/2021   HRW     NL        Email J. Morris re: HCRE supplemental production         0.10        695.00           $69.50
                                in notes litigation (0.1).
 10/26/2021   HRW     NL        Email J. Morris and J. Pomerantz re: errata for          0.10        695.00           $69.50
                                opposition to MTD in notes litigation (0.1).
 10/26/2021   HRW     NL        Email local counsel re: errata for opposition to MTD     0.10        695.00           $69.50
                                in notes litigation (0.1).
 10/26/2021   HRW     NL        Review email from local counsel re: errata for           0.10        695.00           $69.50
                                opposition to MTD in notes litigation (0.1).
 10/27/2021   JNP     NL        Continue to prepare for hearing on motion to             1.30      1295.00          $1,683.50
                                dismiss.
 10/27/2021   JNP     NL        Conference with Gregory V. Demo, John A. Morris          0.30      1295.00           $388.50
                                and J. Seery regarding Klos and Hendrix
                                depositions.
 10/27/2021   JAM     NL        Prepare for depositions (0.6); e-mails w/ defense        9.00      1245.00         $11,205.00
                                counsel re: document production (0.2); Hendrix and
                                Klos depositions (7.7); tel c. w/ J. Seery, J.
                                Pomerantz, G. Demo re: depositions (and certain
                                unrelated matters) (0.5).
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                                                                                           Hours           Rate       Amount
 10/27/2021   GVD     NL        Attend K. Hendrix deposition (partial)                      0.50        950.00         $475.00
 10/27/2021   HRW     NL        Review HCMFA supplemental documents for notes               0.50        695.00         $347.50
                                litigations (0.5).
 10/27/2021   HRW     NL        Email J. Morris re: HCMFA and HCRE                          0.10        695.00          $69.50
                                supplemental documents for notes litigations (0.1).
 10/27/2021   HRW     NL        Research re: summary judgment standard for notes            2.00        695.00        $1,390.00
                                litigations (2.0).
 10/27/2021   HRW     NL        Email local counsel re: errata for opposition briefs to     0.10        695.00          $69.50
                                MTD (0.1).
 10/27/2021   HRW     NL        Draft errata for opposition briefs to MTD (1.0).            1.00        695.00         $695.00
 10/27/2021   HRW     NL        Hendrix deposition for notes litigations (3.0).             3.00        695.00        $2,085.00
 10/27/2021   HRW     NL        Klos deposition for notes litigations (2.5).                2.50        695.00        $1,737.50
 10/28/2021   JNP     NL        Continue to prepare for hearing on motion to                2.00      1295.00         $2,590.00
                                dismiss.
 10/28/2021   PJJ     NL        Telephone conference with John Morris and La Asia           0.30        460.00         $138.00
                                regarding Dondero deposition preparation.
 10/28/2021   PJJ     NL        Review deposition exhibits and outline and prepare          1.80        460.00         $828.00
                                for Dondero deposition.
 10/28/2021   PJJ     NL        Prepare additional document production.                     0.50        460.00         $230.00
 10/28/2021   JAM     NL        Amend six deposition notices (0.3); e-mail to               6.70      1245.00         $8,341.50
                                counsel re: Dondero deposition (0.1); tel c. w/ J.
                                Seery re: notes litigation (0.5); communications w/
                                L. Canty, P. Jeffries re: Dondero deposition and
                                exhibits (0.6); tel c. w/ H. Winograd re: notes
                                litigation (0.8); prepare for Dondero deposition
                                (4.1); tel c. w/ G. Demo re: notes litigation (0.2); tel
                                c. w/ D. Rukavina, H. Winograd re: witnesses (0.1).
 10/28/2021   GVD     NL        Conference with J. Morris re potential expert               0.20        950.00         $190.00
                                discovery issues
 10/28/2021   GVD     NL        Conference with J. Morris re deposition issues re           0.20        950.00         $190.00
                                notes litigation
 10/28/2021   HRW     NL        Call with J. Morris re: notes litigations (0.8).            0.80        695.00         $556.00
 10/28/2021   HRW     NL        Review email from counsel re: extension for expert          0.10        695.00          $69.50
                                reports in notes litigation (0.1).
 10/28/2021   HRW     NL        Send counsel supplemental production for notes              0.20        695.00         $139.00
                                litigations and related tasks (0.2).
 10/28/2021   HRW     NL        Research re: summary judgment in notes litigation           7.00        695.00        $4,865.00
                                (7.0).
 10/28/2021   HRW     NL        Review and finalize errata for opposition briefs to         0.20        695.00         $139.00
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                                                                                          Hours           Rate         Amount
                                MTD in notes litigation (0.2).
 10/28/2021   HRW     NL        Review and edit amended deposition notices in notes        0.20        695.00          $139.00
                                litigation (0.2).
 10/28/2021   HRW     NL        Email local counsel re: amended deposition notices         0.10        695.00           $69.50
                                in notes litigation (0.1).
 10/29/2021   JNP     NL        Continue preparing for hearing on motion to                2.50      1295.00          $3,237.50
                                dismiss.
 10/29/2021   JNP     NL        Conference with Jordan A. Kroop regarding overlap          0.20      1295.00           $259.00
                                between motion to dismiss and motion to enforce in
                                notes litigation.
 10/29/2021   JNP     NL        Review of NexPoint motion to extend time to                0.10      1295.00           $129.50
                                designate experts.
 10/29/2021   PJJ     NL        Assist with Dondero deposition.                            7.00        460.00         $3,220.00
 10/29/2021   JMF     NL        Review motions to extend expert discovery                  0.30      1050.00           $315.00
                                deadlines.
 10/29/2021   JAM     NL        Prepare for Dondero deposition (4.2); Dondero             11.90      1245.00         $14,815.50
                                deposition (including multiple calls with G. Demo,
                                H. Winograd during breaks) (7.0); tel c. w/ G.
                                Demo, H. Winograd re: post-deposition follow-up
                                (0.5); tel c. w/ J. Seery re: Dondero deposition (0.2).
 10/29/2021   GVD     NL        Attend deposition of J. Dondero (partial)                  2.80        950.00         $2,660.00
 10/29/2021   GVD     NL        Review emails re correspondence re prepayment              0.40        950.00          $380.00
                                allocation
 10/29/2021   GVD     NL        Multiple conferences with J. Morris and H.                 1.00        950.00          $950.00
                                Winograd re status of Dondero deposition
 10/29/2021   HRW     NL        Dondero deposition for consolidated notes litigation       5.00        695.00         $3,475.00
                                (5.0).
 10/29/2021   HRW     NL        Research for summary judgment in consolidated              1.00        695.00          $695.00
                                notes litigation (1.0).
 10/29/2021   HRW     NL        Draft and review DC Sauter deposition subpoena             0.50        695.00          $347.50
                                and related documents (0.5).
 10/29/2021   HRW     NL        Email with local counsel re: DC Sauter deposition          0.20        695.00          $139.00
                                subpoena (0.2).
 10/29/2021   HRW     NL        Calls with J. Morris and G. Demo re: Dondero               0.60        695.00          $417.00
                                deposition (0.6).
 10/29/2021   HRW     NL        Review Waterhouse deposition transcript (0.2).             0.20        695.00          $139.00
 10/29/2021   HRW     NL        Review NexPoint motion to extend discovery                 0.30        695.00          $208.50
                                deadlines (0.3).
 10/29/2021   HRW     NL        Email HCMFA counsel re: deposition subpoena                0.10        695.00           $69.50
                                (0.1).
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Pachulski Stang Ziehl & Jones LLP                                                                  Page:    52
Highland Capital Management LP                                                                     Invoice 128950
36027 - 00003                                                                                      October 31, 2021


                                                                                          Hours            Rate       Amount
 10/29/2021   JAK     NL        Confer with Jeff Pomerantz regarding strategic              1.80      1100.00         $1,980.00
                                issues pertaining to arguments made in motion to
                                dismiss versus motion to compel arbitration (0.3);
                                review motion to dismiss for portions of inconsistent
                                arguments pertaining to rejection of executory
                                contracts (0.7); research regarding estoppel for
                                inconsistent statements (0.8).
 10/30/2021   JAM     NL        Review documents and prepared for Alan Johnson              4.30      1245.00         $5,353.50
                                (expert) deposition (4.3).
 10/31/2021   JAM     NL        Prepare for Johnson deposition and for summary              5.00      1245.00         $6,225.00
                                judgment (4.8); tel c. w/ J. Seery re: notes litigation
                                (0.2).
 10/31/2021   HRW     NL        Research and related tasks for response to                  2.20        695.00        $1,529.00
                                NexPoint's motion to extend discovery deadlines
                                (2.2).
 10/31/2021   HRW     NL        Review productions in notes litigations (0.8).              0.80        695.00         $556.00

                                                                                          396.20                  $375,653.50

  Non-Working Travel
 10/26/2021   JAM     NT        Non-working travel New York to Dallas for                   2.40      1245.00         $2,988.00
                                Klos/Hendrix depositions (2.4).
 10/27/2021   JAM     NT        Non-working travel Dallas to New York (4.2).                4.20      1245.00         $5,229.00

                                                                                            6.60                      $8,217.00

  Other Insider Claims
 10/14/2021   JAM     OIC       Tel c. w/ G. Demo re: objection to CLO Holdco               0.30      1245.00          $373.50
                                claim (0.1); e-mails w/ L. Phillips re: objection to
                                CLO Holdco Claim (0.2).
 10/14/2021   GVD     OIC       Conference with J. Morris re CLO Holdco proof of            0.20        950.00         $190.00
                                claim Other Insider Claims
 10/15/2021   JNP     OIC       Conference with John A. Morris and Gregory V.               0.40      1295.00          $518.00
                                Demo regarding Dugaboy claims and proposed
                                withdrawal.
 10/18/2021   JNP     OIC       Review email from Gregory V. Demo regarding                 0.10      1295.00          $129.50
                                procedure for withdrawal of Dugaboy claims.
 10/18/2021   JAM     OIC       Tel c. w/ J. Pomerantz, G. Demo re: Select and              0.70      1245.00          $871.50
                                DAF/Dugaboy claim issues (0.7).
 10/18/2021   GVD     OIC       Research ability to withdraw claim and                      1.40        950.00        $1,330.00
                                correspondence re same
 10/18/2021   GVD     OIC       Correspondence with J. Morris and J. Pomerantz re           0.20        950.00         $190.00
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                                FRPSHODUELWUDWLRQ  HPDLOWRFRXQVHOUH
                                FRQWLQXHG'RQGHURGHSRVLWLRQ  
    *9'     1/        5HYLHZGUDIWDUJXPHQWVRQPRWLRQWRGLVPLVVDQG                       
                                PRWLRQWRFRPSHODUELWUDWLRQ
    *9'     1/        ,QLWLDOFRQIHUHQFHZLWK36=-WHDPUHSUHSDUDWLRQIRU                      
                                RUDODUJXPHQW  $WWHQGIROORZXSFRQIHUHQFHUH
                                SUHSDUDWLRQIRURUDODUJXPHQW SDUWLDO  
    +5:     1/        &DOOZLWK-3RPHUDQW]-.URRS*'HPR-                             
                                0RUULVUHKHDULQJRQPRWLRQVWRGLVPLVVDQGFRPSHO
                                DUELWUDWLRQLQQRWHVOLWLJDWLRQ  
    +5:     1/        *DWKHUDQGUHYLHZVXSSOHPHQWDOSURGXFWLRQIRU                             
                                QRWHVOLWLJDWLRQ  
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       1RYHPEHU


                                                                                          +RXUV           5DWH        $PRXQW
    +5:     1/        5HYLHZ-3RPHUDQW]RXWOLQHUHPRWLRQWRGLVPLVV                      
                                DQGUHODWHGLVVXHV  
    -$.     1/        5HYLHZ-HII3RPHUDQW] VDUJXPHQWRXWOLQHIRU                          
                                PRWLRQWRGLVPLVV  LQLWLDOVWUDWHJ\GLVFXVVLRQ
                                ZLWKWHDPUHJDUGLQJSUHSDUDWLRQVIRUPRWLRQWR
                                GLVPLVVDUJXPHQW  UHYLHZ-RKQ0RUULV V
                                FRPPHQWVDUJXPHQWRXWOLQHVIRUPRWLRQWRGLVPLVV
                                DQGDUELWUDWLRQSURFHHGLQJV  DGGLWLRQDOVWUDWHJ\
                                FRQIHUHQFHFDOOZLWK-HII3RPHUDQW]*UHJ'HPR
                                +D\OH\:LQRJUDGDQG-RKQ0RUULVUHJDUGLQJ
                                SUHSDUDWLRQVIRUDUJXPHQWVRQPRWLRQWRGLVPLVVDQG
                                DUELWUDWLRQPRWLRQ  IROORZXSFDOOZLWK-HII
                                3RPHUDQW]UHJDUGLQJDGGLWLRQDODUJXPHQWVIRU
                                PRWLRQWRGLVPLVV  
    -13     1/        &RQIHUHQFHZLWK-RKQ$0RUULV-6HHU\DQG                              
                                +D\OH\5:LQRJUDGUHJDUGLQJ'RQGHURGHSRVLWLRQ
    -$0     1/        3UHSDUHIRU'RQGHURGHSRVLWLRQ LQFOXGLQJ                           
                                FRPPXQLFDWLRQVZ+:LQRJUDG   WHOFZ*
                                'HPRUH'RQGHURGHSRVLWLRQ  WHOFZ-6HHU\
                                UH'RQGHURGHSRVLWLRQ  'RQGHURGHSRVLWLRQ
                                  WHOFZ-6HHU\-3RPHUDQW] SDUWLDO
                                SDUWLFLSDWLRQ +:LQRJUDGUH'RQGHURGHSRVLWLRQ
                                  
    /6&     1/        3UHSDUHIRUDQGDVVLVWZLWKFRQWLQXHGGHSRVLWLRQRI                    
                                -LP'RQGHUR  FLUFXODWHH[KLELWV  
    *9'     1/        &RQIHUHQFHZLWK-0RUULVUHSUHSDUDWLRQIRU                               
                                'RQGHURGHSRVLWLRQ
    *9'     1/        &RQIHUHQFHZLWK-3RPHUDQW]DQG-0RUULVUHVWDWXV                       
                                RI'RQGHURGHSRVLWLRQ
    +5:     1/        'RQGHURGHSRVLWLRQIRUQRWHVOLWLJDWLRQ                            
    +5:     1/        &DOOZLWK-0RUULVUH'RQGHURGHSRVLWLRQ                              
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                                'RQGHURGHSRVLWLRQ  
    -13     1/        &DOOUHJDUGLQJSUHSDUDWLRQIRUKHDULQJRQPRWLRQWR                       
                                GLVPLVV
    -13     1/        5HYLHZUHSO\UHJDUGLQJPRWLRQWRDUELWUDWH                                
    -13     1/        %ULHIUHYLHZRIUHSO\WRPRWLRQWRGLVPLVV                                
    -$0     1/        7HOFZ-3RPHUDQW]-.URRS*'HPR+                         
                                :LQRJUDGUHPRWLRQVWRGLVPLVVFRPSHODUELWUDWLRQ
                                  SUHOLPLQDU\UHYLHZRI'HIHQGDQWV UHSOLHVLQ
                                VXSSRUWRIPRWLRQVWRGLVPLVVFRPSHODUELWUDWLRQ
                                  
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       1RYHPEHU


                                                                                          +RXUV           5DWH        $PRXQW
                                FRPSHODUELWUDWLRQ
    +5:     1/        5HYLHZ&RXUW VUXOLQJUHPRWLRQWRFRPSHO                                  
                                DUELWUDWLRQ  
    -$.     1/        3ODQQLQJFRQIHUHQFHZLWKLQWHUQDOWHDPUHJDUGLQJ                      
                                OLWLJDWLRQDQGDSSHOODWHGHDGOLQHVDVVLJQPHQWV  
                                UHFHLYHDQGDQDO\]HEDQNUXSWF\FRXUWUXOLQJRQ
                                DUELWUDWLRQDQGGLVPLVVDOPRWLRQVDUJXHGHDUOLHUWKLV
                                ZHHN  
    -13     1/        &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJVWUDWHJ\                         
                                LVVXHV
    -$0     1/        5HYLHZWUDQVFULSWVLQSUHSDUDWLRQIRUPRWLRQIRU                      
                                VXPPDU\MXGJPHQW  
    -$0     1/        5HYLHZWUDQVFULSWVDQGFRQWLQXHGZRUNRQVXPPDU\                      
                                MXGJPHQWPRWLRQ  
    -13     1/        &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJYDULRXV                          
                                LVVXHVLQFOXGLQJQRWHVOLWLJDWLRQ
    +5:     1/        5HVHDUFKUHVXPPDU\MXGJPHQWIRUQRWHVOLWLJDWLRQV                    
                                  
    +5:     1/        (PDLO-0RUULVUHPRWLRQWRH[WHQGWLPHWRJDWKHU                         
                                H[SHUWV  
    -13     1/        &RQIHUHQFHZLWK-6HHU\-RKQ$0RUULVDQG                             
                                +D\OH\5:LQRJUDGUHJDUGLQJVWUDWHJ\
                                FRQVLGHUDWLRQVZLWKUHVSHFWWRVXPPDU\MXGJPHQWRQ
                                QRWHVFRPSODLQWV
    -0)     1/        5HYLHZGHFLVLRQUHDUELWUDWLRQDQGVWD\RIQRWHV                          
                                DGYHUVDU\SURFHHGLQJV
    -$0     1/        (PDLOVZ'5XNDYLQDUH+&0)$                                      
                                GLVFRYHU\PRWLRQWRDPHQGUHODWHGPDWWHUV  
                                SUHSDUHIRUPRWLRQIRUVXPPDU\MXGJPHQW  
                                DQDO\VLVRIFODLPVDQGGHIHQVHVLQQRWHVOLWLJDWLRQ
                                DQGHPDLOWR-6HHU\-3RPHUDQW]*'HPR+
                                :LQRJUDGUHVDPH  HPDLOWRGHIHQVHFRXQVHO
                                UH6DXWHUGHSRVLWLRQ  HPDLOWR/&DQW\6
                                :LQQVUHGHSRVLWLRQWUDQVFULSWV  SUHSDUHIRU
                                6DXWHUGHSRVLWLRQ  WHOFZ-6HHU\-
                                3RPHUDQW]+:LQRJUDGUHVFRSHRIPRWLRQIRU
                                VXPPDU\MXGJPHQW  HPDLOWRGHIHQVHFRXQVHO
                                UHVFRSHRIPRWLRQIRUVXPPDU\MXGJPHQW  
    /6&     1/        %HJLQSUHSDUDWLRQRIH[KLELWVLQFRQQHFWLRQZLWK                           
                                GHSRVLWLRQRI'HQQLV&6DXWHU
    /6&     1/        3UHSDUHDPHQGHGQRWLFHRIGHSRVLWLRQRI'&                                
                                6DXWHU
    +5:     1/        &DOOZLWK-3RPHUDQW]-0RUULVDQG-6HHU\UH                        
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                       1RYHPEHU


                                                                                          +RXUV           5DWH        $PRXQW
                                VXPPDU\MXGJPHQWLQQRWHVOLWLJDWLRQ  
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                                FRXQVHOUHDPHQGHGDQVZHUDQGVFKHGXOLQJ  
    +5:     1/        5HYLHZUHVHDUFKUHUHVSRQVHWRPRWLRQWRH[WHQG                           
                                WLPHWRJDWKHUH[SHUWV  
    +5:     1/        5HYLHZ+&0)$DQVZHUDQGUHODWHGGRFXPHQWV                                  
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    +5:     1/        5HYLHZHPDLOIURP-0RUULVUHVXPPDU\MXGJPHQW                           
                                LQQRWHVOLWLJDWLRQ  
    +5:     1/        5HVHDUFKUHPRWLRQWRFRQVROLGDWHQRWHVOLWLJDWLRQV                       
                                  
    -$0     1/        3UHSDUHIRU6DXWHUGHSRVLWLRQ  6DXWHU                           
                                GHSRVLWLRQ LQFOXGLQJFDOOVZLWK+:LQRJUDG   
    /6&     1/        $GGLWLRQDOSUHSDUDWLRQIRUDQGDVVLVWDWGHSRVLWLRQRI                 
                                'HQQLV&6DXWHU
    *9'     1/        &RQIHUHQFHZLWK+:LQRJUDGUH6DXWHUGHSRVLWLRQ                             
    *9'     1/        &RUUHVSRQGHQFHZLWK-0RUULVUH+LJKODQG)XQG,,                          
                                PDQDJHPHQW
    *9'     1/        &RQIHUHQFHZLWK-0RUULVUH6DXWHUGHSRVLWLRQ                              
    +5:     1/        '&6DXWHUGHSRVLWLRQ                                               
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    +5:     1/        &DOOZLWK*UXEHUUHFRQVROLGDWLRQRIQRWHVOLWLJDWLRQ                      
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                                +&0)$1$9(UURU  
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                                FRQVROLGDWLRQ  
    +5:     1/        5HVHDUFKUHPRWLRQWRFRQVROLGDWH                                     
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                                HPDLOVZ+:LQRJUDG=$QQDEOHUHUHYLVHG5XOH
                                 E  QRWLFHIRU+&0)$  SUHSDUHIRU
                                VXPPDU\MXGJPHQWPRWLRQ  HPDLOWR'
                                5XNDYLQDUHDPHQGHG5XOH E  QRWLFHIRU
                                +&0)$  
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                                FRQQHFWLRQZLWKPRWLRQWRH[WHQGH[SHUWGLVFRYHU\
                                GHDGOLQHVDQGFRUUHVSRQGHQFHUHJDUGLQJWKHVDPH
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+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                     ,QYRLFH 
                                                                                        1RYHPEHU


                                                                                           +RXUV           5DWH        $PRXQW
    +5:     1/        &RPPXQLFDWHZLWK/&DQW\UHVFKHGXOLQJ                                   
                                VWLSXODWLRQIRUQRWHVOLWLJDWLRQ  
    +5:     1/        'UDIWVFKHGXOLQJVWLSXODWLRQIRUQRWHVOLWLJDWLRQ                   
    +5:     1/        5HYLHZEHWZHHQ-0RUULVDQGFRXQVHOUHVXPPDU\                             
                                MXGJPHQWLQQRWHVOLWLJDWLRQ  
    +5:     1/        5HYLHZ+&0)$GHSRVLWLRQQRWLFH                                           
    +5:     1/        (PDLO-0RUULVUH+&0)$GHSRVLWLRQQRWLFH                              
    +5:     1/        5HYLHZHPDLOIURPORFDOFRXQVHOUH+&0)$                                    
                                GHSRVLWLRQQRWLFH  
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                                VFKHGXOLQJVWLSXODWLRQIRUPRWLRQWRH[WHQGH[SHUW
                                GLVFRYHU\  
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                                IRUPRWLRQWRH[WHQGH[SHUWGLVFRYHU\  
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                                EULHILQJ  
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                                H[WHQGH[SHUWGHDGOLQHV  
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                                RSLQLRQDQGRUGHUIRUVXEPLVVLRQWRMXGJHRQ
                                DUELWUDWLRQPRWLRQDQGPRWLRQWRGLVPLVV  HPDLO
                                WRLQWHUQDOWHDPUHJDUGLQJVDPHDQGQH[WVWHSV  
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                                RIRUGHUVDQGYDULRXVLVVXHVUHODWHGWRRUGHUV  
                                HPDLOVZLWK-RKQ0RUULVUHJDUGLQJLVVXHVIRU
                                DUELWUDWLRQPRWLRQRUGHU  UHVHDUFKUHJDUGLQJ
                                ILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZIRURUGHUV
                                GHQ\LQJPRWLRQVWRGLVPLVV  
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                                GHQ\LQJDUELWUDWLRQPRWLRQV  HPDLOWR-
                                3RPHUDQW]-.URRS*'HPR+:LQRJUDGUH
                                FRPPHQWVWRGUDIWPHPRUDQGXPGHFLVLRQDQGRUGHU
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                                SURSRVHGHGLWVWRRUGHUGHQ\LQJPRWLRQWRGLVPLVV
                                  FRPSOHWHHGLWVDQGILQDOUHYLVLRQVWRRUGHU
                                GHQ\LQJGLVPLVVDODQGSUHSDUHIRUVXEPLVVLRQ  
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                                OLWLJDWLRQVLQWKH'LVWULFW&RXUW  
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                                RIPRWLRQWRFRQVROLGDWHQRWHVOLWLJDWLRQVSHQGLQJLQ
                                WKH8QLWHG6WDWHV'LVWULFW&RXUWV  
                                FRPPXQLFDWLRQVZ+:LQRJUDG/&DQW\UHGUDIW
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
+LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
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                                0HPRUDQGXPRI/DZLQVXSSRUWRIPRWLRQWR
                                FRQVROLGDWHQRWHVOLWLJDWLRQVSHQGLQJLQWKH8QLWHG
                                6WDWHV'LVWULFW&RXUWVDQGH[KLELWVIRUVXPPDU\
                                MXGJPHQWPRWLRQ  
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                                RIPRWLRQWRFRQVROLGDWHQRWHVOLWLJDWLRQVSHQGLQJLQ
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                                3RPHUDQW]*'HPR+:LQRJUDGUHGUDIW
                                0HPRUDQGXPRI/DZLQVXSSRUWRIPRWLRQWR
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                                DFWLRQVLQGLVWULFWFRXUW  FRPPXQLFDWLRQVZ-
                                3RPHUDQW]*'HPR+:LQRJUDGUHPRWLRQWR
                                FRQVROLGDWHQRWHVDFWLRQVLQGLVWULFWFRXUW  
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                                H[WHQGWLPHWRGHVLJQDWHH[SHUWV
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                                'LVFRYHU\'HDGOLQHV  HPDLOVWR-3RPHUDQW]
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                                OLWLJDWLRQV
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                                PRWLRQWRH[WHQGGLVFRYHU\GHDGOLQHV
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                                      Pachulski Stang Ziehl & Jones LLP
                                              10100 Santa Monica Blvd.
                                                     13th Floor
                                               Los Angeles, CA 90067
                                                                         December 31, 2021
     Board of Directors                                                  Invoice 129324
     Highland Capital Management LP                                      Client  36027
     100 Crescent Court, Suite 1850                                      Matter  00003
     Dallas, TX 75201
                                                                                 JNP

     RE: Post-Effective Date

      _______________________________________________________________________________________

               STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2021




HIGHLY CONFIDENTIAL                                                                          D-CNL003894
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     Pachulski Stang Ziehl & Jones LLP                                   Page:     4
     Highland Capital Management LP                                      Invoice 129324
     36027 - 00003                                                       December 31, 2021


      NL                 Notes Litigation                       398.50                 $345,649.00




HIGHLY CONFIDENTIAL                                                                      D-CNL003895
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     Highland Capital Management LP                                                                  Invoice 129324
     36027 - 00003                                                                                   December 31, 2021


                                                                                             Hours           Rate        Amount




       Notes Litigation
      12/01/2021   JNP     NL        Conference with John A. Morris regarding Dustin          0.10      1295.00          $129.50
                                     Norris deposition and motion to amend answer.
      12/01/2021   JNP     NL        Conference with John A. Morris regarding notes           0.30      1295.00          $388.50
                                     litigation deposition, other litigation and fees.
      12/01/2021   JMF     NL        Review reply brief re expert discovery.                  0.30      1050.00          $315.00
      12/01/2021   JAM     NL        Review/revise opposition to NexPoint Motion to          11.00      1245.00     $13,695.00
                                     Extend Expert Discovery Deadline (2.3); e-mail to
                                     H. Winograd, J. Pomerantz, G. Demo, L. Canty re:
                                     revised version of opposition to NexPoint Motion to
                                     Extend Expert Discovery Deadline (0.1); prepare for
                                     HCMFA Rule 30(b)(6) deposition (3.5); HCMFA
                                     Rule 30(b)(6) deposition (4.8); tel c. w/ H. Winograd
                                     re: deposition and opposition to NexPoint Motion to
                                     Extend Expert Discovery Deadline (0.2); tel c. w/ J.
                                     Pomerantz re: deposition and HCMFA motion for
                                     leave to amend (0.1).
      12/01/2021   LSC     NL        Prepare for and assist at HCMFA deposition.              5.80       460.00      $2,668.00
      12/01/2021   LSC     NL        Update summary judgment/deposition exhibit list          0.40       460.00          $184.00
                                     and exhibits.
      12/01/2021   HRW     NL        Dustin Norris deposition (4.5).                          4.50       695.00      $3,127.50
      12/01/2021   HRW     NL        Call with J. Morris re: Norris deposition (0.2).         0.20       695.00          $139.00
      12/01/2021   HRW     NL        Prepare and file response to motion to extend            1.00       695.00          $695.00
                                     discovery (1.0).
      12/01/2021   HRW     NL        Email local counsel re: response to motion to extend     0.20       695.00          $139.00
                                     discovery (0.2).
      12/01/2021   HRW     NL        Review recent filings in notes litigations (0.2).        0.20       695.00          $139.00
      12/01/2021   HRW     NL        Email J. Pomerantz re: recent filings in notes           0.10       695.00           $69.50
                                     litigations (0.1).
      12/02/2021   JAM     NL        Prepare for summary judgment (3.7); tel c. w/ H.         4.30      1245.00      $5,353.50
                                     Winograd, D. Dukavina re: meet and confer on
                                     scheduling and related matters (0.2); e-mails w/ D.
                                     Rukavina re: potential sanctions motion arising from




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                                                                                              Hours           Rate        Amount
                                     motion for leave to amend complaint (0.4).
      12/02/2021   HRW     NL        Draft motion to consolidate notes litigations and         4.00       695.00      $2,780.00
                                     ancillary documents (4.0).
      12/02/2021   HRW     NL        Email J. Pomerantz, J. Morris, G. Demo re: motion         0.20       695.00          $139.00
                                     to consolidate notes litigations (0.2).
      12/02/2021   HRW     NL        Email M. Gruber re: motion to consolidate notes           0.10       695.00           $69.50
                                     litigations (0.1).
      12/02/2021   HRW     NL        Email J. Morris re: motions to amend (0.2).               0.20       695.00          $139.00
      12/02/2021   HRW     NL        Review HCMFA motion to amend (0.5).                       0.50       695.00          $347.50
      12/02/2021   HRW     NL        Research re: motion for summary judgment (0.8).           0.80       695.00          $556.00
      12/02/2021   HRW     NL        Email J. Pomerantz, J. Morris, G. Demo re: motion         0.40       695.00          $278.00
                                     for summary judgment (0.4).
      12/02/2021   HRW     NL        Call with J. Morris and D. Rukavina re: scheduling        0.20       695.00          $139.00
                                     of motion to amend (0.2).
      12/03/2021   JNP     NL        Review order denying arbitration.                         0.10      1295.00          $129.50
      12/03/2021   JNP     NL        Review arbitration memorandum of opinion.                 0.10      1295.00          $129.50
      12/03/2021   JAM     NL        Review/revise motion for consolidation of notes           5.00      1245.00      $6,225.00
                                     cases in District Court (4.1); e-mails w/ D. Rukavina
                                     re: scheduling and sanctions motion (0.3) tel c. w/ H.
                                     Winograd re: motion to consolidate (0.4); review
                                     draft order and motion (0.2).
      12/03/2021   LSC     NL        Update MSJ exhibit list and exhibits and                  1.50       460.00          $690.00
                                     correspondence regarding the same.
      12/03/2021   GVD     NL        Review order on motion to compel arbitration              0.40       950.00          $380.00
      12/03/2021   GVD     NL        Review revisions to motion to consolidate                 0.20       950.00          $190.00
      12/03/2021   HRW     NL        Draft motion to consolidate notes litigations and         2.50       695.00      $1,737.50
                                     ancillary documents (2.5).
      12/03/2021   HRW     NL        Email J. Morris, local counsel, L. Canty, J.              0.10       695.00           $69.50
                                     Pomerantz, G. Demo re: motion to consolidate (0.1).
      12/03/2021   HRW     NL        Email L. Canty and J. Morris re: MSJ (0.2).               0.20       695.00          $139.00
      12/03/2021   HRW     NL        Review exhibits re: MSJ (0.8).                            0.80       695.00          $556.00
      12/03/2021   HRW     NL        Email M. Gruber and J. Wallace re: motion to              0.10       695.00           $69.50
                                     consolidate (0.1).
      12/03/2021   HRW     NL        Email Z. Annable re: motion to consolidate (0.3).         0.30       695.00          $208.50
      12/03/2021   JAK     NL        Review entered memorandum opinion of bankruptcy           0.60      1100.00          $660.00
                                     court on motion to compel arbitration (0.4); email to
                                     internal team regarding same and possible grounds
                                     for defending against inevitable appeal (0.2);




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      12/04/2021   JNP     NL        Discuss status of notes litigation and next steps.         0.80      1295.00      $1,036.00
      12/04/2021   JAM     NL        Tel c. w/ J. Pomerantz, G. Demo, H. Winograd re:           1.10      1245.00      $1,369.50
                                     status of notes litigation and next steps (0.8); e-mail
                                     to defense counsel re: exhibits (0.2); e-mail to
                                     defense counsel re: motion to consolidate (0.1).
      12/04/2021   LSC     NL        Further update MSJ exhibit list and exhibits and           1.40       460.00          $644.00
                                     correspondence regarding the same.
      12/04/2021   LSC     NL        Prepare appendix and declaration ISO brief ISO             1.30       460.00          $598.00
                                     motion to consolidate.
      12/04/2021   GVD     NL        Discuss status of notes litigation and next steps          0.80       950.00          $760.00
      12/04/2021   HRW     NL        Discuss status of notes litigation and next steps          0.80       695.00          $556.00
                                     (0.8).
      12/05/2021   HRW     NL        Email J. Morris re: summary judgment (0.1).                0.10       695.00           $69.50
      12/05/2021   HRW     NL        Research re: summary judgment (2.5).                       2.50       695.00      $1,737.50
      12/06/2021   JAM     NL        Tel c. w/ D. Dietsch Perez re: motion to consolidate       0.20      1245.00          $249.00
                                     (0.1); tel c. w/ H. Winograd re: motion to
                                     consolidate (0.1).
      12/06/2021   LSC     NL        Amended appendix ISO brief ISO motion to                   5.00       460.00      $2,300.00
                                     consolidate and gather same.
      12/06/2021   HRW     NL        Review and finalize motion to consolidate (3.0).           3.00       695.00      $2,085.00
      12/06/2021   HRW     NL        Communicate with L. Canty re: motion to                    0.50       695.00          $347.50
                                     consolidate (0.5).
      12/06/2021   HRW     NL        Email Z. Annable re: motion to consolidate (0.2).          0.20       695.00          $139.00
      12/06/2021   HRW     NL        Review email from J. Wallace and M. Gruber re:             0.20       695.00          $139.00
                                     motion to consolidate (0.2).
      12/06/2021   HRW     NL        Review materials and research re: MSJ (2.0).               2.00       695.00      $1,390.00
      12/07/2021   JNP     NL        Review Judge Godby order denying motion for                0.10      1295.00          $129.50
                                     reconsideration of withdrawal of the reference.
      12/07/2021   JMF     NL        Review order denying reconsideration and adopting          0.30      1050.00          $315.00
                                     BK court recommendations.
      12/07/2021   JAM     NL        Continued work on summary judgment (0.7); meet             4.40      1245.00      $5,478.00
                                     w/ H. Winograd re: summary judgment (3.0); tel c.
                                     w/ D. Perez re: motion to consolidate (0.3); tel c. w/
                                     J. Seery re: motion to consolidate and proposed
                                     stipulation (0.1); e-mails w/ D. Perez re: motion to
                                     consolidate (0.3).
      12/07/2021   GVD     NL        Review order denying motion to reconsider                  0.20       950.00          $190.00
      12/07/2021   HRW     NL        Meet w/ J. Morris re: summary judgment (3.0).              3.00       695.00      $2,085.00
      12/07/2021   HRW     NL        Call with Dorsey re: motion for summary judgment           0.20       695.00          $139.00




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      12/12/2021   HRW     NL        Draft notice of motion to consolidate (0.5).           0.50       695.00          $347.50
      12/12/2021   HRW     NL        Email J. Morris re: hearing on motion to extend        0.10       695.00           $69.50
                                     discovery schedule (0.1).
      12/12/2021   HRW     NL        Research re: motion for summary judgment (1.0).        1.00       695.00          $695.00
      12/12/2021   HRW     NL        Email J. Morris re: research re: motion for summary    0.20       695.00          $139.00
                                     judgment (0.2).
      12/13/2021   JNP     NL        Participation in motion to extend expert discovery     1.30      1295.00      $1,683.50
                                     deadline.
      12/13/2021   JNP     NL        Conference with John A. Morris, Hayley R.              0.20      1295.00          $259.00
                                     Winograd and J. Seery regarding hearing on motion
                                     to extend expert discovery deadline.
      12/13/2021   JNP     NL        Conference with John A. Morris regarding notice in     0.20      1295.00          $259.00
                                     consolidation motion.
      12/13/2021   JNP     NL        Emails regarding dueling motions for consolidation.    0.10      1295.00          $129.50
      12/13/2021   JNP     NL        Review and comment on order denying motion to          0.10      1295.00          $129.50
                                     extend expert deadline.
      12/13/2021   JAM     NL        Review/revise Notice of First Consolidation Motion     8.10      1245.00     $10,084.50
                                     (0.8); e-mails w/ J. Pomerantz, G. Demo, H,
                                     Winograd, Z. Annable re: Notice of First
                                     Consolidation Motion (0.3); tel c. w/ H. Winograd
                                     re: argument on motion to extend expert discovery
                                     (0.1); hearing on defendants' motion to extend
                                     discovery (1.5); revisions to Notice of First
                                     Consolidation Motion (0.1); review order denying
                                     motion to extend expert discovery and
                                     communications w/ H. Winograd re: same (0.1);
                                     communications w/ H. Winograd, L. Canty re:
                                     motion for partial summary judgment (0.3);
                                     continued work on motion for partial summary
                                     judgment (4.9).
      12/13/2021   HRW     NL        Hearing on motion to extend discovery schedule         1.20       695.00          $834.00
                                     (1.2).
      12/13/2021   HRW     NL        Call with J. Morris re: hearing on motion to extend    0.10       695.00           $69.50
                                     discovery schedule (0.1).
      12/13/2021   HRW     NL        Prepare for hearing on motion to extend discovery      3.00       695.00      $2,085.00
                                     schedule (3.0).
      12/13/2021   HRW     NL        Draft motion for summary judgment (5.0).               5.00       695.00      $3,475.00
      12/13/2021   HRW     NL        Draft order on motion to extend discovery (1.3).       1.30       695.00          $903.50
      12/13/2021   HRW     NL        Email J. Pomerantz, J. Morris, G. Demo re: order on    0.20       695.00          $139.00
                                     motion to extend discovery (0.2).
      12/13/2021   HRW     NL        Call with J. Pomerantz and J. Morris re: hearing on    0.20       695.00          $139.00




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                                                                                               Hours           Rate        Amount
                                     motion to extend discovery (0.2).
      12/13/2021   HRW     NL        Call with J. Pomerantz, J. Morris, and J. Seery re:        0.10       695.00           $69.50
                                     hearing on motion to extend discovery (0.1).
      12/14/2021   JNP     NL        Conference with John A. Morris regarding motion to         0.10      1295.00          $129.50
                                     amend answer.
      12/14/2021   JMF     NL        Review motions to consolidate matters.                     0.30      1050.00          $315.00
      12/14/2021   JAM     NL        Review/revise exhibit list (0.4); review/revise            6.90      1245.00      $8,590.50
                                     stipulation re: prepayment defense (0.3);
                                     communications w/ L. Canty re: exhibits (0.2);
                                     continued work on motion for partial summary
                                     judgment (6.0).
      12/14/2021   LSC     NL        Conference with J. Morris regarding exhibits to            0.70       460.00          $322.00
                                     summary judgment motion.
      12/14/2021   LSC     NL        Further update and revise summary judgment exhibit         2.90       460.00      $1,334.00
                                     list and exhibits and correspondence regarding the
                                     same.
      12/14/2021   LSC     NL        Prepare initial draft of stipulation in connection with    0.70       460.00          $322.00
                                     summary judgment exhibits and transmit to J.
                                     Morris for further revision.
      12/14/2021   GVD     NL        Review transcript from expert discovery extension          0.30       950.00          $285.00
                                     request
      12/14/2021   HRW     NL        Draft motion for summary judgment (9.0).                   9.00       695.00      $6,255.00
      12/14/2021   HRW     NL        Email opposing counsel re: order on motion to              0.20       695.00          $139.00
                                     extend discovery (0.2).
      12/15/2021   JNP     NL        Conference with John A. Morris regarding motion to         0.20      1295.00          $259.00
                                     amend answer.
      12/15/2021   LAF     NL        Rsaerch re: Sample summary judgment motion in              0.30       475.00          $142.50
                                     ND TEXAS.
      12/15/2021   JAM     NL        Review/revise draft NexPoint stipulation and               8.70      1245.00     $10,831.50
                                     communication w/ D. Rukavina re: same (0.5); tel c.
                                     w/ D. Klos re: prepayment issues (0.4); tel c. w/ J.
                                     Pomerantz re: NexPoint stipulation and related
                                     matters (0.3); continue work on motion for partial
                                     summary judgment (7.5).
      12/15/2021   HRW     NL        Draft motion for summary judgment and prepare for         12.00       695.00      $8,340.00
                                     filing (12).
      12/16/2021   JNP     NL        Conference with John A. Morris regarding                   0.10      1295.00          $129.50
                                     consolidation.
      12/16/2021   JNP     NL        Review motion for summary judgment.                        0.30      1295.00          $388.50
      12/16/2021   JAM     NL        Draft Klos declaration in support of motion for PSJ       10.50      1245.00     $13,072.50
                                     (2.5); tel c. w/ D. Klos, H. Winograd re: Klos




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                                     declaration (0.2); tel c. w/ H. Winograd re: brief
                                     (0.5); continued work on motion for partial summary
                                     judgment (7.3).
      12/16/2021   LSC     NL        Revise Klos declaration in support of summary              1.10       460.00          $506.00
                                     judgment and prepare exhibits to same.
      12/16/2021   LSC     NL        Additional preparation of summary judgment exhibit         8.90       460.00      $4,094.00
                                     list and 200 exhibits, including retrieval, review,
                                     preparation, redactions (where necessary), and
                                     finalizing of same.
      12/16/2021   GVD     NL        Conference with J. Morris re note prepayment issues        0.20       950.00          $190.00
      12/16/2021   GVD     NL        Review research re plan provisions applicable to           0.20       950.00          $190.00
                                     summary judgment
      12/16/2021   HRW     NL        Draft motion for summary judgment and related             13.00       695.00      $9,035.00
                                     tasks (13).
      12/17/2021   JAM     NL        Work on summary judgment motion (including (a)            16.50      1245.00     $20,542.50
                                     communications w/ J. Seery, D. Klos, H. Winograd,
                                     L. Canty, J. Pomerantz, and (b) communications w/
                                     adversaries concerning exhibits) (16.5).
      12/17/2021   LSC     NL        Continued preparation for filing of motion, brief for     11.80       460.00      $5,428.00
                                     summary judgment, and related documents,
                                     including further updates and revisions to exhibit list
                                     and exhibits, revise and prepare Klos declaration,
                                     draft appendix , revise brief to include pin cites,
                                     revise motion, finalize exhibits and collate appendix,
                                     address numerous issues in connection with same,
                                     and confer and correspond with attorneys regarding
                                     the same.
      12/17/2021   GVD     NL        Review and revise draft motion for summary                 1.00       950.00          $950.00
                                     judgment
      12/17/2021   GVD     NL        Conference with H. Winograd re HCMFA SSA and               0.20       950.00          $190.00
                                     follow up re same
      12/17/2021   HRW     NL        Draft motion for summary judgment and prepare for         15.00       695.00     $10,425.00
                                     filing (15.0).
      12/18/2021   JNP     NL        Conference with John A. Morris regarding notices           0.20      1295.00          $259.00
                                     litigation and summary judgment motion.
      12/18/2021   HRW     NL        Prepare supplemental materials re: motion for              0.80       695.00          $556.00
                                     summary judgment (0.8).
      12/18/2021   HRW     NL        Communicate with J. Morris re: motion for                  0.10       695.00           $69.50
                                     summary judgment (0.1).
      12/18/2021   HRW     NL        Communicate with L. Canty re: motion for summary           0.20       695.00          $139.00
                                     judgment (0.2).
      12/18/2021   HRW     NL        Communicate with Z. Annable re: motion for                 0.20       695.00          $139.00




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                                     summary judgment (0.2).
      12/19/2021   JAM     NL        Communications w/ H. Winograd re: correcting               0.30      1245.00          $373.50
                                     citations in brief and adding definitions (0.2); e-mail
                                     to defense counsel re: amended brief (0.1).
      12/19/2021   LSC     NL        Update and revise summary judgment brief.                  5.50       460.00      $2,530.00
      12/19/2021   HRW     NL        Prepare supplemental materials re: motion for              0.50       695.00          $347.50
                                     summary judgment (0.5).
      12/20/2021   JNP     NL        Email to and from Hayley R. Winograd regarding             0.10      1295.00          $129.50
                                     order.
      12/20/2021   JMF     NL        Review motion for summary judgment.                        0.50      1050.00          $525.00
      12/20/2021   LSC     NL        Further revise and update amended brief and confer         1.30       460.00          $598.00
                                     and correspond regarding the same.
      12/20/2021   HRW     NL        Prepare supplemental materials re: motion for              2.00       695.00      $1,390.00
                                     summary judgment (2.0).
      12/20/2021   HRW     NL        Communicate with L. Canty re: supplemental                 0.20       695.00          $139.00
                                     materials re: motion for summary judgment (0.2).
      12/20/2021   HRW     NL        Email counsel re: order on motion to extend                0.20       695.00          $139.00
                                     discovery (0.2).
      12/20/2021   HRW     NL        Edit order on motion to extend discovery (0.2).            0.20       695.00          $139.00
      12/20/2021   HRW     NL        Email J. Pomerantz, J. Morris, G. Demo re: order on        0.20       695.00          $139.00
                                     motion to extend discovery (0.2).
      12/20/2021   HRW     NL        Draft scheduling stipulation re: HCMFA motion to           1.00       695.00          $695.00
                                     amend answer (1.0).
      12/20/2021   HRW     NL        Email J. Morris, Z. Annable re: scheduling                 0.10       695.00           $69.50
                                     stipulation re: HCMFA motion to amend answer
                                     (0.1).
      12/20/2021   HRW     NL        Email D. Rukavina re: scheduling stipulation re:           0.10       695.00           $69.50
                                     HCMFA motion to amend answer (0.1).
      12/21/2021   JAM     NL        Tel c. w/ H. Winograd re: opposition to HCMFA's            0.60      1245.00          $747.00
                                     motion for leave to amend (0.4); communications w/
                                     D. Rukavina re: briefing schedule for HCMFA's
                                     motion for leave to amend (0.1); communications w/
                                     defense counsel and court re: hearing for motion for
                                     partial summary judgment (0.1).
      12/21/2021   HRW     NL        Research re: HCMFA second motion to amend                  4.50       695.00      $3,127.50
                                     answer (4.5).
      12/21/2021   HRW     NL        Email Z. Annable re: order denying motion to               0.10       695.00           $69.50
                                     extend discovery (0.1).
      12/21/2021   HRW     NL        Email opposing counsel re: order denying motion to         0.10       695.00           $69.50
                                     extend discovery (0.1).




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                                                                                           Hours           Rate        Amount
      12/21/2021   HRW     NL        Email Z. Annable re: scheduling stipulation for        0.20       695.00          $139.00
                                     HCMFA second motion to amend answer (0.2).
      12/21/2021   HRW     NL        Email D. Rukavina re: scheduling stipulation for       0.10       695.00           $69.50
                                     HCMFA second motion to amend answer (0.1).
      12/21/2021   HRW     NL        Review email from D. Rukavina and J. Morris re:        0.10       695.00           $69.50
                                     stipulation for HCMFA second motion to amend
                                     answer (0.1).
      12/21/2021   HRW     NL        Draft proposed re: stipulation for HCMFA second        0.30       695.00          $208.50
                                     motion to amend answer (0.3).
      12/21/2021   HRW     NL        Call with J. Morris re: HCMFA second motion to         0.30       695.00          $208.50
                                     amend answer (0.3).
      12/21/2021   HRW     NL        Email J. Morris re: HCMFA second motion to             0.60       695.00          $417.00
                                     amend answer (0.6).
      12/22/2021   JMF     NL        Review summary judgment motions and update WIP         0.40      1050.00          $420.00
                                     re hearing on same.
      12/22/2021   JAM     NL        Review Notice of Hearing (0.1); tel c. w/ G. Demo      0.30      1245.00          $373.50
                                     re: status (0.2).
      12/22/2021   GVD     NL        Conference with J. Morris re status of summary         0.20       950.00          $190.00
                                     judgment motions
      12/23/2021   JMF     NL        Review scheduling orders re headings on notes          0.30      1050.00          $315.00
                                     litigation proceedings and summary judgment
                                     proceedings.
      12/23/2021   JAM     NL        Review/revise proposed Stipulation concerning          0.30      1245.00          $373.50
                                     NexPoint (0.2); e-mails w/ D. Rukavina, H.
                                     Winograd re: NexPoint stipulation (0.1).
      12/23/2021   GVD     NL        Attend to issues re appellate designations             0.20       950.00          $190.00
      12/24/2021   JAM     NL        Review Waterhouse transcript (0.5).                    0.50      1245.00          $622.50
      12/24/2021   HRW     NL        Draft opposition to HCMFA second motion to             2.00       695.00      $1,390.00
                                     amend answer (2.0).
      12/24/2021   HRW     NL        Email J. Morris re: HCMFA second motion to             0.10       695.00           $69.50
                                     amend answer (0.1).
      12/25/2021   HRW     NL        Draft opposition to HCMFA motion to amend (4.0).       4.00       695.00      $2,780.00
      12/26/2021   JAM     NL        Review and analyze Defendant's consolidation           1.20      1245.00      $1,494.00
                                     motion and response (0.5); draft preliminary
                                     statement for reply on consolidation motion (0.5);
                                     e-mail to J. Pomerantz, G. Demo, H. Winograd re:
                                     reply on consolidation motion (0.2).
      12/26/2021   HRW     NL        Review draft reply ISO motion to consolidate (0.2).    0.20       695.00          $139.00
      12/26/2021   HRW     NL        Review defendants' pleadings re: motions to            0.50       695.00          $347.50
                                     consolidate (0.5).




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                                                                                               Hours           Rate        Amount
      12/26/2021   HRW     NL        Review email from J. Morris re: reply ISO motion to        0.10       695.00           $69.50
                                     consolidate (0.1).
      12/26/2021   HRW     NL        Email J. Morris, J. Pomerantz, G. Demo re: reply           0.10       695.00           $69.50
                                     ISO motion to consolidate (0.1).
      12/26/2021   HRW     NL        Draft opposition to HCMFA motion to amend (3.5).           3.50       695.00      $2,432.50
      12/27/2021   JNP     NL        Review of reply regarding consolidation motion.            0.10      1295.00          $129.50
      12/27/2021   JNP     NL        Conference with John A. Morris regarding reply             0.20      1295.00          $259.00
                                     regarding consolidation motion.
      12/27/2021   JAM     NL        Draft reply on motion to consolidation notes actions       6.80      1245.00      $8,466.00
                                     in District Court (6.3); tel c. w/ H. Winograd re:
                                     motion to consolidate and other matters concerning
                                     notes litigation (0.3); e-mails w/ Z. Annable re: reply
                                     on motion to consolidate (0.2).
      12/27/2021   HRW     NL        Call with J. Morris re: HCMFA motion to amend              0.30       695.00          $208.50
                                     answer (0.3).
      12/27/2021   HRW     NL        Draft opposition to HCMFA motion to amend                  7.00       695.00      $4,865.00
                                     answer (7.0).
      12/27/2021   HRW     NL        Review reply ISO motion to consolidate (0.3).              0.30       695.00          $208.50
      12/27/2021   HRW     NL        Communicate with L. Canty re: HCMFA production             0.30       695.00          $208.50
                                     (0.3).
      12/28/2021   JNP     NL        Conference with John A. Morris regarding                   0.20      1295.00          $259.00
                                     consolidation and other related issues.
      12/28/2021   JMF     NL        Review objection and replies re motion to                  0.50      1050.00          $525.00
                                     consolidate.
      12/28/2021   JAM     NL        Work on opposition to HCMFA motion for leave to            6.00      1245.00      $7,470.00
                                     amend (5.4); tel c. w/ H. Winograd re: opposition to
                                     HCMFA motion for leave to amend (0.3); tel c. w/ J.
                                     Pomerantz re: defendants' request to consolidate
                                     arbitration appeals before Starr (0.2); e-mail to H.
                                     Winograd re: possible insert to opposition (0.1).
      12/28/2021   HRW     NL        Call with J. Morris re: HCMFA motion to amend              0.30       695.00          $208.50
                                     answer (0.3).
      12/28/2021   HRW     NL        Draft opposition to HCMFA motion to amend                  6.80       695.00      $4,726.00
                                     answer (6.8).
      12/28/2021   HRW     NL        Communicate with L. Canty re: HCMFA motion to              0.30       695.00          $208.50
                                     amend answer (0.3).
      12/29/2021   JAM     NL        Continued work on objection to HCMFA motion for            6.20      1245.00      $7,719.00
                                     leave to amend (5.1); tel c. w/ H. Winograd re:
                                     objection to HCMFA motion for leave to amend
                                     (0.4); tel c. w/ J. Seery re: Obligors' payments on
                                     notes and related matters (0.4); tel c. w/ J.




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                                                                                             Hours            Rate        Amount
                                     Pomerantz re: consolidation of arbitration appeals
                                     (0.1); tel c. w/ M. Aigen re: consolidation of
                                     arbitration appeals (0.1); tel c. w/ H. Winograd re:
                                     objection to HCMFA motion for leave to amend
                                     (0.1).
      12/29/2021    GVD      NL      Correspondence with J. Seery re demand letters and        0.50       950.00          $475.00
                                     cure payments and conference re same
      12/29/2021    HRW      NL      Call with J. Morris re: HCMFA motion to amend             0.40       695.00          $278.00
                                     answer (0.4).
      12/29/2021    HRW      NL      Draft opposition to HCMFA motion to amend                 7.00       695.00       $4,865.00
                                     answer (7.0).
      12/29/2021    HRW      NL      Communicate with L. Canty re: HCMFA motion to             0.30       695.00          $208.50
                                     amend answer (0.3).
      12/30/2021    JAM      NL      Continued work on opposition to HCMFA motion            11.20       1245.00     $13,944.00
                                     for leave to amend ("HCMFA Motion") (10.2); tel c.
                                     w/ H. Winograd re: HCMFA Motion (0.2); tel c. w/
                                     J. Pomerantz re: HCMFA Motion (0.1); tel c. w/ H.
                                     Winograd re: HCMFA Motion (0.1); tel c. w/ J.
                                     Seery re: HCMFA Motion and letters concerning
                                     payments on notes (0.2); e-mails w/ H. Winograd, L.
                                     Canty re: appendix/exhibits and other matters related
                                     to HCMFA Motion (0.3); communications w/ D..
                                     Rukavina, H. Winograd, L. Canty, Z. Annable re:
                                     90-minute extension of time (0.1).
      12/30/2021    LSC      NL      Continued preparation of appendix in support of           9.70       460.00       $4,462.00
                                     opposition to HCMFA's second motion to amend,
                                     including updating and adding exhibits, redactions,
                                     finalize and assemble appendix, insert pin cites into
                                     opposition and address various issues with respect to
                                     the same, and preparation of declaration.
      12/30/2021    GVD      NL      Review opposition to motion to amend complaint            0.40       950.00          $380.00
                                     (0.2); conference with J. Morris re same (0.2)
      12/30/2021    JE       NL      Review responses to consolidation motions and             0.50      1195.00          $597.50
                                     correspondence with Mr. John Morris.
      12/30/2021    HRW      NL      Draft and file opposition to HCMFA motion to              9.00       695.00       $6,255.00
                                     amend (9.0).
      12/31/2021    JMF      NL      Review brief in opposition to motion to amend             0.40      1050.00          $420.00
                                     answers.

                                                                                             398.50                  $345,649.00

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                               EXHIBIT C
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    March 31, 2022
James P. Secry, Jr.                                                 Invoice 129886
Highland Capital Management LP                                      Client   36027
100 Crescent Court, Suite 1850                                      Matter   00004
Dallas, TX 75201
                                                                             JNP

RE: Notes Litigation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2022
                FEES                                                 $85,369.00
                EXPENSES                                                  $4.00
                TOTAL CURRENT CHARGES                                $85,373.00

                BALANCE FORWARD                                     $172,582.50
                LAST PAYMENT                                        $172,582.50
                TOTAL BALANCE DUE                                    $85,373.00
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  Summary of Services by Professional
  ID        Name                        Title           Rate       Hours              Amount

 GVD        Demo, Gregory Vincent       Counsel       1095.00       2.20            $2,409.00

 HRW        Winograd , Hayley R.        Associate      750.00      62.10           $46,575.00

                                                                   21.90           $30,550.50
 JAM        Morris, John A.             Partner       1395.00
                                                                    0.70             $801.50
 JMF        Fried, Joshua M.            Partner       1145.00
                                                                    0.40             $578.00
 JNP        Pomerantz, Jeffrey N.       Partner       1445.00
                                                                    9.00            $4,455.00
 LSC        Canty, La Asia S.           Paralegal      495.00
                                                                  96.30             $85,369.00
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  Summary of Services by Task Code
  Task Code         Description                              Hours                      Amount

                                                             96.30                    $85,369.00

                                                                     96.30            $85,369.00
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  Summary of Expenses
  Description                                                                         Amount
Pacer - Court Research                                                             $0.50
Reproduction/ Scan Copy                                                            $3.50

                                                                                           $4.00
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                                                                                         Hours           Rate     Amount



 03/01/2022   JMF               Review opposition to motion to strike/sanctions.          0.40      1145.00        $458.00
 03/02/2022   JAM               Preliminary review of HCMFA reply on motion for           0.20      1395.00        $279.00
                                reconsideration denying motion to leave to amend
                                (0.2).
 03/03/2022   LSC               Preparation of additional trial exhibits and follow up    2.20       495.00       $1,089.00
                                regarding issues with respect to the same.
 03/03/2022   GVD               Review reply to motion to reconsider amendment to         0.20      1095.00        $219.00
                                complaint
 03/03/2022   HRW               Email G. Demo re: HCMFA reply ISO motion for              0.10       750.00         $75.00
                                reconsideration (0.1).
 03/03/2022   HRW               Email G. Demo, J. Pomerantz, and J. Morris re:            0.10       750.00         $75.00
                                HCMFA reply ISO motion for reconsideration (0.1).
 03/03/2022   HRW               Review HCMFA reply ISO motion for                         0.30       750.00        $225.00
                                reconsideration (0.3).
 03/03/2022   HRW               Review email from J. Morris re: supplemental              0.10       750.00         $75.00
                                production of invoices (0.1).
 03/04/2022   LSC               Preparation of additional exhibits and follow up          1.90       495.00        $940.50
                                regarding issues with respect to the same.
 03/04/2022   GVD               Conference with J. Morris re status of notes              0.20      1095.00        $219.00
                                litigation and depositions
 03/04/2022   GVD               Conference with J. Morris, H. Winograd, D. Klos,          1.00      1095.00       $1,095.00
                                and J. Seery re deposition of Dustin Norris and next
                                steps in notes litigation
 03/07/2022   LSC               Prepare supplemental appendix in support of               1.30       495.00        $643.50
                                summary judgment.
 03/07/2022   LSC               Review documents and prepare supplemental                 1.40       495.00        $693.00
                                document production and correspondence regarding
                                the same.
 03/07/2022   HRW               Communicate with L. Canty re: supplemental fee            0.20       750.00        $150.00
                                documents (0.2).
 03/07/2022   HRW               Email D. Rukavina, M. Aigen, D. Perez                     0.20       750.00        $150.00
                                supplemental fee documents (0.2).
 03/08/2022   GVD               Conference with J. Morris re status of notes              0.10      1095.00        $109.50
                                litigation
 03/08/2022   HRW               Email J. Dine re: motions to strike (0.1).                0.10       750.00         $75.00
 03/09/2022   JAM               Review motions to strike and related transcripts          1.90      1395.00       $2,650.50
                                (1.9).
 03/09/2022   HRW               Email J. Dine re: motions to strike (0.1).                0.10       750.00         $75.00
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                                                                                        Hours           Rate     Amount
 03/09/2022   HRW               Call with J. Morris re: briefing on motions to strike    0.20       750.00        $150.00
                                (0.2).
 03/10/2022   JAM               Tel c. w. H. Winograd re: motions to strike and          0.30      1395.00        $418.50
                                related matters (0.3).
 03/11/2022   JAM               Tel c. w/ H. Winograd re: motions to strike and          0.80      1395.00       $1,116.00
                                related matters (0.2); review documents re: motions
                                to strike (0.6).
 03/11/2022   GVD               Conference with J. Morris re status of notes             0.30      1095.00        $328.50
                                litigation
 03/11/2022   HRW               Draft reply ISO motion for sanctions (7.5).              7.50       750.00       $5,625.00
 03/11/2022   HRW               Email M. Aigen and D. Rukavina re: reply ISO             0.10       750.00         $75.00
                                motion for sanctions (0.1).
 03/11/2022   HRW               Email Z. Annable re: re: reply ISO motion for            0.20       750.00        $150.00
                                sanctions (0.2).
 03/11/2022   HRW               Email J. Morris re: re: reply ISO motion for             0.10       750.00         $75.00
                                sanctions (0.1).
 03/12/2022   HRW               Draft reply ISO motion for sanctions and related         6.50       750.00       $4,875.00
                                tasks (6.5).
 03/13/2022   JAM               Initial review of draft reply in further support of      1.60      1395.00       $2,232.00
                                motion to strike/sanctions/contempt (0.2); tel c. w/
                                H. Winograd re: status of reply (0.1); work on reply
                                in support of motion to strike/sanctions/contempt
                                (1.3).
 03/13/2022   HRW               Draft reply ISO motion for sanctions and related         8.50       750.00       $6,375.00
                                tasks (8.5).
 03/14/2022   JNP               Review reply regarding motion to strike.                 0.20      1445.00        $289.00
 03/14/2022   JAM               Review/revise draft reply on motion to                   6.10      1395.00       $8,509.50
                                strike/sanctions/contempt (4.2); tel c. w/ H.
                                Winograd re: revisions/status of reply on motion to
                                strike/sanctions/contempt (0.2); tel c. w/ H.
                                Winograd re: revisions/status of reply on motion to
                                strike/sanctions/contempt (0.2); further
                                review/revisions to reply brief in support of motion
                                to strike/sanctions/contempt (1.5).
 03/14/2022   GVD               Review response to motion to strike/sanctions            0.20      1095.00        $219.00
 03/14/2022   HRW               Draft reply ISO motion for sanctions and related         7.00       750.00       $5,250.00
                                tasks (7.0).
 03/14/2022   HRW               Research re: opposition to motion to strike appendix     2.50       750.00       $1,875.00
                                (2.5).
 03/15/2022   JNP               Conference with John A. Morris regarding                 0.20      1445.00        $289.00
                                summary judgment.
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                                                                                         Hours           Rate     Amount
 03/15/2022   JMF               Review reply to motion for sanctions/strike.              0.30      1145.00        $343.50
 03/15/2022   HRW               Call with J. Dine re: response to motion to strike        0.10       750.00         $75.00
                                (0.1).
 03/15/2022   HRW               Research and draft re: response to motion to strike       5.50       750.00       $4,125.00
                                (5.5).
 03/15/2022   HRW               Email Z. Annable re: hearing on motion to strike          0.20       750.00        $150.00
                                (0.2).
 03/16/2022   JAM               Preliminary review of H. Winograd's draft                 0.40      1395.00        $558.00
                                opposition to motion to strike (0.4).
 03/16/2022   HRW               Draft opposition to motion to strike (8.5).               8.50       750.00       $6,375.00
 03/17/2022   JAM               Review documents re: opposition to motion to strike       2.50      1395.00       $3,487.50
                                (2.5).
 03/17/2022   HRW               Draft opposition to motion to strike (5.0).               5.00       750.00       $3,750.00
 03/18/2022   JAM               Review/review opposition to Defendants' motion to         4.90      1395.00       $6,835.50
                                strike (4.1); e-mails w/ H. Winograd re: further
                                revisions to opposition to Defendants' motion to
                                strike (0.8).
 03/18/2022   GVD               Review motion to strike affidavit                         0.20      1095.00        $219.00
 03/18/2022   HRW               Draft opposition to motion to strike and related tasks    8.00       750.00       $6,000.00
                                (8.0).
 03/19/2022   JAM               E-mail to T. Ellison re: status of hearing date/time      0.20      1395.00        $279.00
                                needed (0.2).
 03/21/2022   LSC               Revise and finalize notice of hearing re summary          0.50       495.00        $247.50
                                judgment motions, HCMLP's motions to strike, and
                                Defendants' motions to strike and discuss same with
                                H. Winograd.
 03/21/2022   HRW               Communicate with L. Canty regarding notice of             0.10       750.00         $75.00
                                hearing (0.1).
 03/21/2022   HRW               Draft amended notice of hearing for summary               0.30       750.00        $225.00
                                judgment and motions to strike (0.3).
 03/21/2022   HRW               Email Z. Annable regarding amended notice of              0.10       750.00         $75.00
                                hearing for summary judgment and motions to strike
                                (0.1).
 03/21/2022   HRW               Review email from Z. Annable regarding amended            0.10       750.00         $75.00
                                notice of hearing for summary judgment and
                                motions to strike (0.1).
 03/21/2022   HRW               Email J. Morris regarding scheduling for summary          0.10       750.00         $75.00
                                judgment hearing (0.1).
 03/21/2022   HRW               Review emails from J. Morris and opposing counsel         0.10       750.00         $75.00
                                regarding scheduling for summary judgment hearing
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Pachulski Stang Ziehl & Jones LLP                                                               Page:     8
Highland Capital Management LP                                                                  Invoice 129886
36027 - 00004                                                                                   March 31, 2022


                                                                                        Hours           Rate      Amount
                                (0.1).
 03/23/2022   JAM               Tel c. w/ L. Canty re: collection costs and exhibits     0.60      1395.00         $837.00
                                (0.3); draft JAM declaration re: collection costs and
                                exhibits (0.3).
 03/23/2022   LSC               Revise supplemental appendix and exhibits and            1.70       495.00         $841.50
                                finalize same (1.5); confer with J. Morris regarding
                                the same (.2)
 03/24/2022   JAM               Review documents and draft JAM declaration               2.40      1395.00       $3,348.00
                                concerning costs of collection, including attorneys'
                                fees (2.2); e-mail to J. Pomerantz, G. Demo, H.
                                Winograd re: Rule 54 and costs of collections (0.2).
 03/24/2022   HRW               Review email from J. Morris re: costs and fees in        0.20       750.00         $150.00
                                notes litigation (0.2).

                                                                                        96.30                    $85,369.00

  TOTAL SERVICES FOR THIS MATTER:                                                                              $85,369.00
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Highland Capital Management LP                                    Invoice 129886
36027 - 00004                                                     March 31, 2022



 Expenses

 03/28/2022   RE2       SCAN/COPY ( 35 @0.10 PER PG)                  3.50


 03/31/2022   PAC       Pacer - Court Research                        0.50

   Total Expenses for this Matter                                  $4.00
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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Pachulski Stang Ziehl & Jones LLP                                                         Page:    10
Highland Capital Management LP                                                            Invoice 129886
36027 - 00004                                                                             March 31, 2022


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        03/31/2022

Total Fees                                                                                            $85,369.00

Total Expenses                                                                                              4.00

Total Due on Current Invoice                                                                          $85,373.00

  Outstanding Balance from prior invoices as of        03/31/2022          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due



             Total Amount Due on Current and Prior Invoices:                                          $85,373.00
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    April 30, 2022
James P. Secry, Jr.                                                 Invoice 130115
Highland Capital Management LP                                      Client    36027
100 Crescent Court, Suite 1850                                      Matter    00004
Dallas, TX 75201
                                                                              JNP

RE: Notes Litigation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2022
                FEES                                                $109,289.00
                EXPENSES                                                  $5.80
                TOTAL CURRENT CHARGES                               $109,294.80

                BALANCE FORWARD                                      $85,373.00
                TOTAL BALANCE DUE                                   $194,667.80
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Pachulski Stang Ziehl & Jones LLP                                 Page:      2
Highland Capital Management LP                                    Invoice 130115
36027 - 00004                                                     April 30, 2022




  Summary of Services by Professional
  ID        Name                        Title           Rate       Hours              Amount

 GVD        Demo, Gregory Vincent       Partner       1095.00       9.50           $10,402.50

 HRW        Winograd , Hayley R.        Associate      750.00      27.40           $20,550.00

 JAK                                                                7.10            $8,484.50
            Kroop, Jordan A.            Counsel       1195.00
                                                                   38.20           $53,289.00
 JAM        Morris, John A.             Partner       1395.00
                                                                    0.80             $916.00
 JMF        Fried, Joshua M.            Partner       1145.00
                                                                    7.30           $10,548.50
 JNP        Pomerantz, Jeffrey N.       Partner       1445.00
 LSC        Canty, La Asia S.           Paralegal      495.00      10.00            $4,950.00

 PEC        Cuniff, Patricia E.         Paralegal      495.00       0.30             $148.50

                                                                 100.60            $109,289.00
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Highland Capital Management LP                                       Invoice 130115
36027 - 00004                                                        April 30, 2022


  Summary of Services by Task Code
  Task Code         Description                              Hours                       Amount

                                                            100.60                    $109,289.00

                                                                 100.60               $109,289.00
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Highland Capital Management LP                                    Invoice 130115
36027 - 00004                                                     April 30, 2022


  Summary of Expenses
  Description                                                                         Amount
Pacer - Court Research                                                             $3.30
Reproduction/ Scan Copy                                                            $2.50

                                                                                           $5.80
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Pachulski Stang Ziehl & Jones LLP                                                                  Page:      5
Highland Capital Management LP                                                                     Invoice 130115
36027 - 00004                                                                                      April 30, 2022


                                                                                           Hours           Rate       Amount



 03/14/2022   LSC               Draft declaration of John Morris in support of Reply        0.30        495.00        $148.50
                                in support ofMotion to Strike.
 03/18/2022   JNP               Conference with J. Seery regarding court                    0.20      1445.00         $289.00
                                continuance of summary judgment hearing.
 04/01/2022   JMF               Review Reply re Motion to strike appendix.                  0.30      1145.00         $343.50
 04/01/2022   HRW               Review pleading re: defendants' motion to strike            0.50        750.00        $375.00
                                (0.5).
 04/01/2022   HRW               Email J. Pomerantz, J. Morris, G. Demo re:                  0.10        750.00         $75.00
                                defendants' motion to strike (0.1).
 04/06/2022   JNP               Consider issues relating to enforcement of                  0.10      1445.00         $144.50
                                judgments.
 04/14/2022   JAM               E-mail to Z. Annable re: oral argument on 4/20              0.20      1395.00         $279.00
                                (0.1); e-mail to T. Ellison, defense counsel re: oral
                                argument on 4/20 (0.1).
 04/14/2022   HRW               Review emails from J. Morris and M. Aigen to                0.10        750.00         $75.00
                                Court re: summary judgment hearing (0.1).
 04/15/2022   JAM               Work on oral argument for motion for summary                3.10      1395.00        $4,324.50
                                judgment, including initial draft of slides (3.1).
 04/16/2022   JAM               Prepare for oral argument on summary judgment and           2.50      1395.00        $3,487.50
                                motion to strike/sanctions (2.5).
 04/17/2022   HRW               Prepare for hearing on motion to strike (2.0).              2.00        750.00       $1,500.00
 04/18/2022   JMF               Review agenda re 4/20 hearing.                              0.20      1145.00         $229.00
 04/18/2022   JAM               Prepare for oral argument on summary judgment               7.70      1395.00       $10,741.50
                                motion and motion to strike/sanctions (including
                                updates to slides, review of Dondero transcript,
                                documents, and case law) (7.7).
 04/18/2022   HRW               Prepare for hearing on motion to strike (3.5).              3.50        750.00       $2,625.00
 04/18/2022   HRW               Review email from J. Morris re: hearing on                  0.20        750.00        $150.00
                                summary judgment (0.2).
 04/19/2022   JNP               Review deck for summary judgment hearing.                   0.20      1445.00         $289.00
 04/19/2022   PEC               Review various dockets for updates to 4/20/22               0.30        495.00        $148.50
                                Agenda
 04/19/2022   JAM               Prepare for argument (5.0); tel c. w/ G. Demo               6.50      1395.00        $9,067.50
                                argument (0.5); tel c. w/ H. Winograd re: argument
                                (0.6); tel c. w/ J. Seery re: argument (0.3); tel c. w/
                                graphic artist re: decks for argument (0.1).
 04/19/2022   LSC               Preparation of materials (exhibits, transcripts, related    1.70        495.00        $841.50
                                documents) for 4/20 trial.
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Highland Capital Management LP                                                                 Invoice 130115
36027 - 00004                                                                                  April 30, 2022


                                                                                       Hours           Rate       Amount
 04/19/2022   GVD               Conference with J. Morris re opening argument           0.50      1095.00         $547.50
                                issues in notes litigation
 04/19/2022   GVD               Review presentation materials re notes litigation       0.20      1095.00         $219.00
 04/19/2022   HRW               Call with J. Morris re: prep for hearing on summary     0.40        750.00        $300.00
                                judgment and motions to strike (0.4).
 04/19/2022   HRW               Prepare for hearing on motion to strike (8.5).          8.50        750.00       $6,375.00
 04/20/2022   JNP               Participation in summary judgment hearing (partial).    6.40      1445.00        $9,248.00
 04/20/2022   JNP               Conference with Gregory V. Demo and John A.             0.20      1445.00         $289.00
                                Morris regarding results of hearing.
 04/20/2022   JAM               Prepare for hearing (7.0) (3 am to 10:00 pm);          15.00      1395.00       $20,925.00
                                hearing on summary judgment and related matters
                                (7.7); tel c. w/ G. Demo, J. Kroop, H. Winograd re:
                                hearing (0.2); tel c. w/ J. Pomerantz re: hearing
                                (0.1).
 04/20/2022   LSC               Prepare for and assist at MSJ hearing.                  8.00        495.00       $3,960.00
 04/20/2022   GVD               Attend to issues re setting up conference line          0.30      1095.00         $328.50
 04/20/2022   GVD               Attend hearing re motion for summary judgment           8.00      1095.00        $8,760.00
                                (partial) (7.8); attend debrief re summary judgment
                                hearing (0.2)
 04/20/2022   HRW               Prepare for hearing on motion to strike (3.5).          3.50        750.00       $2,625.00
 04/20/2022   HRW               Review email from J. Morris re: hearing on motions      0.10        750.00         $75.00
                                to strike and summary judgment (0.1).
 04/20/2022   HRW               Hearing on motions to strike and summary judgment       8.50        750.00       $6,375.00
                                (including calls with J. Pomerantz, G. Demo, J.
                                Morris, and J. Kroop) (8.5).
 04/20/2022   JAK               Attend hearing on all motions and matters associated    7.10      1195.00        $8,484.50
                                with partial summary judgment motion (7.1).
 04/21/2022   JAM               Work on drafting order granting in part, and denying    1.50      1395.00        $2,092.50
                                in part, motion to strike (1.5).
 04/22/2022   JNP               Conference with John A. Morris regarding summary        0.20      1445.00         $289.00
                                judgment hearing on notes litigation.
 04/22/2022   JAM               Review/revise proposed order on motion to strike        1.50      1395.00        $2,092.50
                                (1.2); communications w/ Z. Annable re: proposed
                                order on motion to strike (0.3).
 04/25/2022   JAM               Review draft proposed order on motion to strike         0.20      1395.00         $279.00
                                (0.1); e-mails w/ Z. Annable re: proposed order on
                                motion to strike (0.1).
 04/27/2022   JMF               Review order denying motion to strike and               0.30      1145.00         $343.50
                                sanctions.
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                                                                                    Hours            Rate       Amount
 04/28/2022   GVD               Conference with H. Winograd re preparation for N.     0.30      1095.00          $328.50
                                Dondero deposition
 04/29/2022   GVD               Conference with J. Morris and H. Winograd re N.       0.20      1095.00          $219.00
                                Dondero deposition

                                                                                    100.60                    $109,289.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $109,289.00
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Highland Capital Management LP                                    Invoice 130115
36027 - 00004                                                     April 30, 2022



 Expenses

 04/18/2022   RE2       SCAN/COPY ( 25 @0.10 PER PG)                  2.50


 04/30/2022   PAC       Pacer - Court Research                        3.30

   Total Expenses for this Matter                                  $5.80
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Highland Capital Management LP                                                            Invoice 130115
36027 - 00004                                                                             April 30, 2022


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        04/30/2022

Total Fees                                                                                           $109,289.00

Total Expenses                                                                                              5.80

Total Due on Current Invoice                                                                         $109,294.80

  Outstanding Balance from prior invoices as of        04/30/2022          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 129886                  03/31/2022                 $85,369.00               $4.00                    $85,373.00

             Total Amount Due on Current and Prior Invoices:                                         $194,667.80
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    May 31, 2022
James P. Secry, Jr.                                                 Invoice 130359
Highland Capital Management LP                                      Client   36027
100 Crescent Court, Suite 1850                                      Matter   00004
Dallas, TX 75201
                                                                             JNP

RE: Notes Litigation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2022
                FEES                                                  $4,430.50
                TOTAL CURRENT CHARGES                                 $4,430.50

                BALANCE FORWARD                                       $7,869.11
                A/R Adjustments                                      -$7,869.11
                TOTAL BALANCE DUE                                     $4,430.50
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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Highland Capital Management LP                                    Invoice 130359
36027 - 00004                                                     May 31, 2022




  Summary of Services by Professional
  ID        Name                        Title           Rate       Hours             Amount

 GVD        Demo, Gregory Vincent       Partner       1095.00       1.90           $2,080.50

 JAK        Kroop, Jordan A.            Counsel       1195.00       1.20           $1,434.00

                                                                    0.80            $916.00
 JMF        Fried, Joshua M.            Partner       1145.00
                                                                   3.90             $4,430.50
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Highland Capital Management LP                                       Invoice 130359
36027 - 00004                                                        May 31, 2022


  Summary of Services by Task Code
  Task Code         Description                              Hours                     Amount

                                                              3.90                    $4,430.50

                                                                     3.90             $4,430.50
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Pachulski Stang Ziehl & Jones LLP                                                              Page:     4
Highland Capital Management LP                                                                 Invoice 130359
36027 - 00004                                                                                  May 31, 2022



                                                                                       Hours           Rate       Amount



 05/03/2022   GVD               Review potential sources of indemnification and         1.40      1095.00        $1,533.00
                                draft summary re same
 05/09/2022   JMF               Review response to objections to reports and            0.40      1145.00          $458.00
                                recommendations to district courts re notes
                                adversaries.
 05/18/2022   JMF               Review responses to R&R re notes litigation             0.40      1145.00          $458.00
                                adversaries.
 05/25/2022   GVD               Review draft motion for summary judgment                0.50      1095.00          $547.50
                                (HCMFA)
 05/31/2022   JAK               Email discussion with John Morris and Greg Demo         1.20      1195.00        $1,434.00
                                regarding likely appellate implications of the grant
                                of summary judgment (0.5); brief review of
                                appellate stipulation to stay appeal pending
                                summary judgment litigation (0.2); brief research
                                regarding length of appellate stays (0.5).

                                                                                        3.90                     $4,430.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $4,430.50
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     5
Highland Capital Management LP                                                            Invoice 130359
36027 - 00004                                                                             May 31, 2022




                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        05/31/2022

Total Fees                                                                                                 $4,430.50

Total Due on Current Invoice                                                                               $4,430.50

  Outstanding Balance from prior invoices as of        05/31/2022          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due



             Total Amount Due on Current and Prior Invoices:                                               $4,430.50
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    June 30, 2022
James P. Secry, Jr.                                                 Invoice 130403
Highland Capital Management LP                                      Client    36027
100 Crescent Court, Suite 1850                                      Matter    00004
Dallas, TX 75201
                                                                              JNP

RE: Notes Litigation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2022
                FEES                                                  $1,674.00
                TOTAL CURRENT CHARGES                                 $1,674.00

                BALANCE FORWARD                                       $4,430.50
                LAST PAYMENT                                          $4,430.50
                TOTAL BALANCE DUE                                     $1,674.00
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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Pachulski Stang Ziehl & Jones LLP                                 Page:     2
Highland Capital Management LP                                    Invoice 130403
36027 - 00004                                                     June 30, 2022




  Summary of Services by Professional
  ID        Name                        Title           Rate       Hours             Amount

 JAM        Morris, John A.             Partner       1395.00       1.20           $1,674.00

                                                                   1.20             $1,674.00
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Highland Capital Management LP                                       Invoice 130403
36027 - 00004                                                        June 30, 2022


  Summary of Services by Task Code
  Task Code         Description                              Hours                     Amount

                                                              1.20                    $1,674.00

                                                              1.20                    $1,674.00
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Highland Capital Management LP                                                                      Invoice 130403
36027 - 00004                                                                                       June 30, 2022


  Summary of Expenses
  Description                                                                                                        Amount
                                                                                   $0.00

                                                                                           Hours            Rate        Amount



 06/07/2022     JAM             Work on identifying counsel for potential                   0.30       1395.00           $418.50
                                collection/enforcement of judgment (0.3).

 06/09/2022     JAM             Work on identifying potential collection/judgment           0.20       1395.00           $279.00
                                enforcement attorney (0.2).

 06/13/2022     JAM             Tel c. w/ J. Patterson re: potential engagement for         0.70       1395.00           $976.50
                                collection/judgment enforcement (0.3); e-mail to J.
                                Patterson re: conflicts, background (0.3); tel c. w/ J.
                                Seery re: Patterson communications (0.1).

                                                                                             1.20                      $1,674.00

  TOTAL SERVICES FOR THIS MATTER:                                                                                     $1,674.00
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Highland Capital Management LP                                                            Invoice 130403
36027 - 00004                                                                             June 30, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        06/30/2022

Total Fees                                                                                                 $1,674.00

Total Due on Current Invoice                                                                               $1,674.00

  Outstanding Balance from prior invoices as of        06/30/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due



             Total Amount Due on Current and Prior Invoices:                                               $1,674.00
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2022
James P. Seery, Jr.                                                 Invoice 130494
Highland Capital Management LP                                      Client    36027
100 Crescent Court, Suite 1850                                      Matter    00004
Dallas, TX 75201
                                                                              JNP

RE: Notes Litigation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2022
                FEES                                                 $21,761.50
                TOTAL CURRENT CHARGES                                $21,761.50

                BALANCE FORWARD                                       $1,674.00
                TOTAL BALANCE DUE                                    $23,435.50
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Highland Capital Management LP                                    Invoice 130494
36027 - 00004                                                     July 31, 2022




  Summary of Services by Professional
  ID        Name                        Title           Rate       Hours             Amount

 GVD        Demo, Gregory Vincent       Partner       1095.00       1.50           $1,642.50

 HRW        Winograd , Hayley R.        Associate      750.00       5.80           $4,350.00

 JAM        Morris, John A.             Partner       1395.00       7.10           $9,904.50

 JMF        Fried, Joshua M.            Partner       1145.00       2.30           $2,633.50

 JNP        Pomerantz, Jeffrey N.       Partner       1445.00       0.90           $1,300.50

 LSC        Canty, La Asia S.           Paralegal      495.00       3.90           $1,930.50

                                                                  21.50            $21,761.50
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Pachulski Stang Ziehl & Jones LLP                                     Page:      3
Highland Capital Management LP                                        Invoice 130494
36027 - 00004                                                         July 31, 2022


  Summary of Services by Task Code
  Task Code         Description                              Hours                       Amount

                                                              21.50                    $21,761.50

                                                              21.50                    $21,761.50
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Highland Capital Management LP                                                                Invoice 130494
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  Summary of Expenses
  Description                                                                                                  Amount

                                                                                      Hours           Rate        Amount



 07/11/2022     JAM             Tel c. w/ J. Patterson re: potential                   0.30      1395.00          $418.50
                                collection/judgment enforcement action (0.1);
                                communications w/ G. Demo, H. Winograd, Z.
                                Annable re: court conference (0.2).

 07/19/2022     JNP             Review of Report and Recommendation.                   0.40      1445.00          $578.00

 07/19/2022     JNP             Conference with J. Seery and Gregory V. Demo           0.10      1445.00          $144.50
                                regarding Report and Recommendation.

 07/19/2022     JNP             Conference with John A. Morris regarding Report        0.20      1445.00          $289.00
                                and Recommendation.

 07/19/2022     JMF             Review report and recommendations re notes             0.70      1145.00          $801.50
                                litigation.

 07/19/2022     GVD             Review report and recommendation (0.5);                1.10      1095.00         $1,204.50
                                conference with J. Pomerantz and J. Seery re same
                                (0.3); correspondence with oversight board re same
                                (0.3)

 07/19/2022     JAM             Review Report and Recommendations (0.7); tel c.        0.90      1395.00         $1,255.50
                                w/ H. Winograd re: R&R (0.1); tel c. w/ G. Demo re:
                                R&R (0.1).

 07/20/2022     JMF             Review DC order, R&Rs, and original motions for        1.30      1145.00         $1,488.50
                                withdrawal of reference and draft analysis of same
                                re district court 7/25 electronic order.

 07/20/2022     HRW             Review email from J. Morris re: R&R on MSJ (0.1).      0.10        750.00          $75.00

 07/20/2022     HRW             Review emails from G. Demo re: R&R on MSJ              0.10        750.00          $75.00
                                (0.1).

 07/20/2022     JAM             Communications w/ J. Seery re: R&R and                 0.30      1395.00          $418.50
                                defendants' request for extension of time (0.3).

 07/21/2022     HRW             Review emails from J. Morris re: stipulation on        0.20        750.00         $150.00
                                R&R (0.2).

 07/21/2022     HRW             Review email from J. Morris re: form of judgment       0.10        750.00          $75.00
                                for R&R (0.1).

 07/21/2022     HRW             Review email from J. Morris re: gathering invoices     0.10        750.00          $75.00
                                (0.1).

 07/21/2022     HRW             Call with J. Morris re: draft email to M. Aigen re:    0.10        750.00          $75.00
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Pachulski Stang Ziehl & Jones LLP                                                                 Page:      5
Highland Capital Management LP                                                                    Invoice 130494
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                                                                                          Hours           Rate     Amount
                                stipulation on R&R (0.1).
 07/21/2022   HRW               Review email from J. Morris re: damages on Notes           0.10        750.00        $75.00
                                (0.1).

 07/21/2022   HRW               Review email from Z. Annable re: form of judgment          0.10        750.00        $75.00
                                for R&R (0.1).

 07/21/2022   JAM               Draft e-mail to M. Aigen, H. Winograd re:                  0.80      1395.00       $1,116.00
                                defendants' request for extension of time to object to
                                R&R (0.4); e-mails w/ J. Seery, J. Pomerantz, H.
                                Winograd re: defendants' request for extension of
                                time (0.1); tel c. w/ J. Seery re: defendants' request
                                for extension of time (0.1); tel c. w/ J. Pomerantz re:
                                defendants' request for extension of time (0.1);
                                revise and send e-mail to M. Aigen, H. Winograd re:
                                defendants' request for extension of time (0.1).

 07/22/2022   HRW               Review email from J. Morris re: collection on Notes        0.10        750.00        $75.00
                                (0.1).

 07/22/2022   HRW               Review email from L. Canty re: invoices for Notes          0.10        750.00        $75.00
                                Litigation (0.1).

 07/22/2022   HRW               Review email from J. Morris re: invoices for Notes         0.10        750.00        $75.00
                                Litigation (0.1).

 07/22/2022   HRW               Review email from M. Aigen re: stipulation on R&R          0.10        750.00        $75.00
                                (0.1).

 07/22/2022   JAM               E-mail to J. Patterson, J. Seery re: possible retention    0.30      1395.00        $418.50
                                (0.3).

 07/24/2022   HRW               Review email from M. Aigen re: stipulation for             0.10        750.00        $75.00
                                R&R objection (0.1).

 07/24/2022   HRW               Review draft stipulation re: R&R objection (0.1).          0.10        750.00        $75.00

 07/25/2022   JNP               Review defendants submission regarding DCT                 0.10      1445.00        $144.50
                                request regarding pending motions.

 07/25/2022   JMF               Review stipulations re notes litigation and emails re      0.30      1145.00        $343.50
                                same.

 07/25/2022   LSC               Retrieval and preparation of invoices/calculations in      3.90        495.00      $1,930.50
                                connection with form of Judgment to be submitted
                                for each Note Maker Defendant and costs and
                                attorneys' fees.calculation .

 07/25/2022   GVD               Review brief in District Court on mootness of notes        0.10      1095.00        $109.50
                                actions

 07/25/2022   GVD               Review stipulation in notes litigation                     0.10      1095.00        $109.50
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                                                                                        Hours           Rate     Amount

 07/25/2022   HRW               Review email from J. Morris re: defendants’              0.10        750.00        $75.00
                                pleading seeking clarification on pending motions
                                (0.1).

 07/25/2022   HRW               Review defendants’ pleading seeking clarification        0.30        750.00       $225.00
                                on pending motions (0.3).

 07/25/2022   HRW               Review stipulation re: briefing schedule on objection    0.30        750.00       $225.00
                                to R&R (0.3).

 07/25/2022   HRW               Review emails from M. Aigen re: stipulation for          0.20        750.00       $150.00
                                objection to R&R (0.2).

 07/25/2022   HRW               Review email from Court re: stipulation for              0.10        750.00        $75.00
                                objection to R&R (0.1).

 07/25/2022   HRW               Review emails from J. Morris re: stipulation for         0.30        750.00       $225.00
                                objection to R&R (0.3).

 07/25/2022   HRW               Review email from Z. Annable re: stipulation for         0.20        750.00       $150.00
                                objection to R&R (0.2).

 07/25/2022   HRW               Review email from D. Klos re: damages calculation        0.30        750.00       $225.00
                                (0.3).

 07/25/2022   JAM               Revise draft Stipulation for objections to               1.10      1395.00       $1,534.50
                                R&R/proposed judgment (0.5); e-mail to Z.
                                Annable, J. Pomerantz, G. Demo, H. Winograd re:
                                proposed Stipulation (0.3); communications w/ M.
                                Aigen, defense counsel, H. Winograd re: Stipulation
                                for objections to R&R/proposed judgment (0.3).

 07/26/2022   HRW               Email J. Morris, J. Pomerantz, G. Demo, and Z.           0.20        750.00       $150.00
                                Annable re: response to defendants’ pending
                                motions (0.2).

 07/26/2022   HRW               Review email from J. Morris re: response to              0.10        750.00        $75.00
                                defendants’ pending motions (0.1).

 07/26/2022   JAM               Review and analyze defendants' response to Court's       1.10      1395.00       $1,534.50
                                electronic order on mootness issues (0.7); e-mail to
                                J. Pomerantz, G. Demo, H. Winograd re: analysis of
                                issues concerning pending motions (0.4).

 07/28/2022   JNP               Review reply to defendants response regarding            0.10      1445.00        $144.50
                                pending motions in District Court.

 07/28/2022   GVD               Review draft response to mootness of notes appeals       0.20      1095.00        $219.00

 07/28/2022   HRW               Review emails from J. Morris re: reply to response       0.20        750.00       $150.00
                                to defendants’ pending motions (0.2).

 07/28/2022   HRW               Email J. Morris, G. Demo, and J. Pomerantz re:           0.20        750.00       $150.00
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Highland Capital Management LP                                                                Invoice 130494
36027 - 00004                                                                                 July 31, 2022


                                                                                     Hours            Rate        Amount
                                reply to response to defendants’ pending motions
                                (0.2).
 07/28/2022   HRW               Review email from Z. Annable re: reply to response    0.20         750.00          $150.00
                                to defendants’ pending motions (0.2).

 07/28/2022   HRW               Review email from G. Demo re: reply to response to    0.10         750.00           $75.00
                                defendants’ pending motions (0.1).

 07/28/2022   HRW               Review and edit reply to response to defendants’      1.40         750.00        $1,050.00
                                pending motions (1.4).

 07/28/2022   HRW               Call with J. Morris re: reply to response to          0.10         750.00           $75.00
                                defendants’ pending motions (0.1).

 07/28/2022   JAM               Draft reply to response on mootness question posed    1.70       1395.00         $2,371.50
                                by Court (1.3); e-mails w/ J. Pomerantz, G. Demo,
                                H. Winograd, Z. Annable re: draft reply (0.2);
                                further revisions to reply (0.2).

 07/30/2022   JAM               Review Klos analysis of principal and interest due    0.60       1395.00           $837.00
                                on the Notes and e-mail to D. Klos, J. Seery, H.
                                Winograd re: same (0.4); e-mails w/ L. Canty, H.
                                Winograd re: attorneys' fees, invoices, costs and
                                expenses (0.2).

                                                                                      21.50                     $21,761.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $21,761.50
    Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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Highland Capital Management LP                                                            Invoice 130494
36027 - 00004                                                                             July 31, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        07/31/2022

Total Fees                                                                                             $21,761.50

Total Due on Current Invoice                                                                           $21,761.50

  Outstanding Balance from prior invoices as of        07/31/2022          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 130403                   06/30/2022                 $1,674.00               $0.00                         $1,674.00

             Total Amount Due on Current and Prior Invoices:                                           $23,435.50
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                               EXHIBIT D
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                                                                                                                                          Invoice Number:                       0122935C
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                                                                                                                                          Labor Invoice — DUE UPON RECEIPT

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                                John A Morris
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                               HIGHLAND CAPITAL MANAGEMENT
                                                                                                                                          P.O. BOX 743295
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                               300 Crescent Court
                               Dallas TX 75201
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                                                                                                    Duplicate
     Line     Employee Name                               Wk End Dt          "Report-To" Supervisor                   Description                Qty     UOM                     Bill Rate          Amount
       1      Crane,Geoffrey J                            04/30/2021         Morris,John A                            Sr. Attorney             2.50      HRS     REG        $          75.00    $     187.50
                 Subtotal:
                                                                                                                                               2.50      HRS                                    $     187.50




                                    Invoice Subtotal:
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                                    TOTAL AMOUNT DUE:
                                                                                                                                                                                                     187.50    1



                                                                              CC pA

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                                                                                           y by sharing our accounts receivable information with National Credit Reporting
                                                                                                                                                                           Agencies.
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                            Dallas TX 75201                                                                                            Pay Online:https://www.roberthalf.com/pay



                                                                                                  Duplicate
    Line    Employee Name                              Wk End Dt           "Report-To" Supervisor                   Description                Qty      UOM                        Bill Rate        Amount
      1     Crane,Geoffrey J                           05/07/2021          Morris,John A                            Sr. Attorney             8.75      HRS      REG        $         75.00      $     656.25
      2     Crane,Geoffrey J                           05/14/2021          Morris,John A                            Sr. Attorney            14.75      HRS     REG         $         75.00          1,106.25

               Subtotal:                                                                                                                    23.50      HRS                                      $   1,762.50




                                 Invoice Subtotal:                                                                                                                                              $   1,762.50

                                 TOTAL AMOUNT DUE:
                                                                                                                                                                                                $   1,762.50




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                                                                                                                                        Labor Invoice - DUE UPON RECEIPT

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                            John A Morris                                                                                              Robert Half Legal
                            HIGHLAND CAPITAL MANAGEMENT                                                                                P.O. BOX 743295
                            Suite 700                                                                                                  Los Angeles CA 90074-3295
                            300 Crescent Court
                            Dallas TX 75201                                                                                            Pay Online:https://www.roberthalf.com/pay




    Line     Employee Name                             Wk End Dt           "Report-To" Supervisor                   Description               Qty       UOM                     Bill Rate        Amount
       1     Crane,Geoffrey J                          06/11/2021          Morris,John A                            Sr. Attorney            12.50       HRS REG            $        75.00    $     937.50

               Subtotal:                                                                                                                     12.50      HRS                                  $      937.50




            Project/Engagement: Highland/Pachulski Discovery Assistance




                                  Invoice Subtotal:                                                                                                                                          $      937.50

                                  TOTAL AMOUNT DUE:                                                                                                                                                 937.50




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                           P.O. BOX 743295                                                                                 Number                           Number                        Amount
                           Los Angeles CA 90074-3295                                                                   00000002445092                      0126707C                     $      937.50




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HIGHLY CONFIDENTIAL                                                                                                                                                                         D-CNL003825
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                                                                                                                                       Labor Invoice — DUE UPON RECEIPT

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                            Suite 700                                                                                                  Los Angeles CA 90074-3295
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                            Dallas TX 75201                                                                                            Pay Online:https://www.roberthalf.com/pay




   Line     Employee Name                              Wk End Dt           "Report-To" Supervisor                   Description                 Qty     UOM                        Bill Rate        Amount
      1     Crane,Geoffrey J                           06/18/2021          Morris,John A                            Sr. Attorney            40.00       HRS REG            $          75.00     $    3,000.00
      2     Crane,Geoffrey J                           06/25/2021          Morris,John A                            Sr. Attorney            40.00       HRS REG            $          75.00     $    3,000.00

               Subtotal:                                                                                                                     80.00      HRS                                     $    6,000.00




            Project/Engagement: Highland/Pachulski Discovery Assistance




                                                                                                     ACC PAC ADVISE

                                  Invoice Subtotal:                                                                                                                                                  6,000.00


                                  TOTAL AMOUNT DUE:                                                                                                                                             $    6,000.00




                    We provide more timely and accurate information to the business community by sharing our accounts receivable information with National Credit Reporting Agencies.

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                                                                                                                                       Labor Invoice — DUE UPON RECEIPT


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                           Suite 700                                                                                                   Los Angeles CA 90074-3295
                           300 Crescent Court
                           Dallas TX 75201                                                                                             Pay Online:https://www.roberthalf.com/pay




    Line    Employee Name                              Wk End Dt           "Report-To" Supervisor                   Description               Qty      UOM                      Bill Rate       Amount
       1    Crane,Geoffrey J                           07/02/2021          Morris,John A                            Sr. Attorney            27.50      HRS REG             $        75.00   $    2,062.50
       2    Crane,Geoffrey J                           07/09/2021          Morris,John A                            Sr. Attorney            40.00      HRS REG             $        75.00   $    3,000.00


               Subtotal:                                                                                                                     67.50     HRS                                  $    5,062.50




            Project/Engagement: Highland/Pachulski Discovery Assistance




                                  Invoice Subtotal:                                                                                                                                         $    5,062.50


                                  TOTAL AMOUNT DUE:                                                                                                                                         $    5,062.50




                    We provide more timely and accurate information to the business community by sharing our accounts receivable information with National Credit Reporting Agencies.
    Any questions regarding this invoice, please call or email:
    (800) 356-1994 / inquiries.srm@roberthalf.com




HIGHLY CONFIDENTIAL                                                                                                                                                                     D-CNL003829
             Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                       Robert Half                                                                                                    Page:                                  1
                                                                                                                                      Invoice Date:                          08/19/2021
                                                                                                                                      Invoice Number:                        0132912C
                                                                                                                                      Customer Number:                       002445092
                                                                                                                                      Fed Tax ID:                            XX-XXXXXXX



                                                                                                                                       Labor Invoice — DUE UPON RECEIPT


                           Personal & Confidential                                                                                     Please Remit To:
                           John A Morris                                                                                               Robert Half Legal
                           HIGHLAND CAPITAL MANAGEMENT                                                                                 P.O. BOX 743295
                           Suite 700                                                                                                   Los Angeles CA 90074-3295
                           300 Crescent Court
                           Dallas TX 75201                                                                                             Pay Online:https://www.roberthaif.com/pay




                                                                         "Report-To" Supervisor                     Description                Qty      UOM                      Bill Rate        Amount
    Line   Employee Name                              Wk End Dt
                                                                         Morris,John A                              Sr. Attorney             37.50      HRS REG             $        75.00    $    2,812.50
       1   Crane,Geoffrey J                           08/06/2021
                                                                                                                    Sr. Attorney              5.75      HRS REG             $        75.00    $      431.25
       2   Crane,Geoffrey J                           08/13/2021         Morris,John A

                                                                                                                                              43.25     HRS                                   $    3,243.75
               Subtotal:




            Project/Engagement: Highland/Pachulski Discovery Assistance




                                                                                                                                                                                              $     3,243.75
                                  Invoice Subtotal:

                                                                                                                                                                                              $     3,243.75
                                  TOTAL AMOUNT DUE:




                                                                                                               accounts receivable information with National Credit Reporting Agencies.
                    We provide more timely and accurate information to the business community by sharing our

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    (800) 356-1994 / inquiries.srm@roberthalf.com




HIGHLY CONFIDENTIAL                                                                                                                                                                          D-CNL003831
             Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                        Robert Half                                                                                                    Page:
                                                                                                                                       Invoice Date:
                                                                                                                                                                              1
                                                                                                                                                                              09/16/2021
                                                                                                                                       Invoice Number:                        0136354C
                                                                                                                                       Customer Number:                       002445092
                                                                                                                                       Fed Tax ID:                            XX-XXXXXXX



                                                                                                                                       Labor Invoice — DUE UPON RECEIPT

                           Personal & Confidential                                                                                     Please Remit To:
                           John A Morris                                                                                               Robert Half Legal
                           HIGHLAND CAPITAL MANAGEMENT                                                                                 P.O. BOX 743295
                           Suite 700                                                                                                   Los Angeles CA 90074-3295
                           300 Crescent Court
                           Dallas TX 75201                                                                                             Pay Online:https://www.roberthalf.com/pay




    Line    Employee Name                             Wk End Dt           "Report-To" Supervisor                   Description               Qty       UOM                      Bill Rate        Amount
       1    Crane,Geoffrey J                          09/03/2021          Morris,John A                            Sr. Attorney            32.50       HRS REG            $         75.00    $    2,437.50
       2    Crane,Geoffrey J                          09/10/2021          Morris,John A                            Sr. Attorney            16.75       HRS REG            $         75.00    $    1,256.25

               Subtotal:                                                                                                                    49.25      HRS                                   $    3,693.75




           Project/Engagement: Highland/Pachulski Discovery Assistance




                                 Invoice Subtotal:                                                                                                                                           $    3,693.75

                                 TOTAL AMOUNT DUE:                                                                                                                                          $     3,693.75




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   (800) 356-1994 / inquiries.srm@roberthalf.com




HIGHLY CONFIDENTIAL                                                                                                                                                                         D-CNL003833
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                        Robert Half                                                                                                    Page:
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                                                                                                                                                                            09/02/2021
                                                                                                                                       Invoice Number:                      0134543C
                                                                                                                                       Customer Number:                     002445092
                                                                                                                                       Fed Tax ID:                          XX-XXXXXXX



                                                                                                                                       Labor Invoice - DUE UPON RECEIPT

                           Personal & Confidential                                                                                     Please Remit To:
                           John A Morris                                                                                               Robert Half Legal
                           HIGHLAND CAPITAL MANAGEMENT                                                                                 P.O. BOX 743295
                           Suite 700                                                                                                   Los Angeles CA 90074-3295
                           300 Crescent Court
                           Dallas TX 75201                                                                                             Pay Online:https://www.roberthalf.com/pay




    Line    Employee Name                              Wk End Dt           "Report-To" Supervisor                   Description               Qty       UOM                     Bill Rate        Amount
       1    Crane,Geoffrey J                           08/20/2021          Morris,John A                            Sr. Attorney            36.50       HRS REG            $        75.00    $    2,737.50
       2    Crane,Geoffrey J                           08/27/2021          Morris,John A                            Sr. Attorney            40.00       HRS REG            $        75.00    $    3,000.00

               Subtotal:                                                                                                                     76.50      HRS                                       5,737.50




            Project/Engagement: Highland/Pachulski Discovery Assistance




                                  Invoice Subtotal:                                                                                                                                          $    5,737.50

                                  TOTAL AMOUNT DUE:                                                                                                                                               5 737 50



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    Any questions regarding this invoice, please call or email:
    (800) 356-1994 / inquiries.srm@roberthalf.com

                                                                        Please detach and return this remittance stub with your payment.




                                                   Thank you for choosing Robert Half Legal!


                            Robert Half Legal                                                                             Customer                          Invoice                        Total
                            P.O. BOX 743295                                                                                Number                           Number                        Amount
                            Los Angeles CA 90074-3295                                                                  00000002445092                      0134543C                     $    5,737.50




                                                                                                                    000000024450920134543C005737504




HIGHLY CONFIDENTIAL                                                                                                                                                                         D-CNL003835
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                        Robert Half                                                                                                    Page:
                                                                                                                                       Invoice Date:
                                                                                                                                                                             1
                                                                                                                                                                             09/30/2021
                                                                                                                                       Invoice Number:                       0138413C
                                                                                                                                       Customer Number:                      002445092
                                                                                                                                       Fed Tax ID:                           XX-XXXXXXX



                                                                                                                                       Labor Invoice — DUE UPON RECEIPT

                           Personal & Confidential                                                                                     Please Remit To:
                            John A Morris                                                                                              Robert Half Legal
                           HIGHLAND CAPITAL MANAGEMENT                                                                                 P.O. BOX 743295
                           Suite 700                                                                                                   Los Angeles CA 90074-3295
                           300 Crescent Court
                           Dallas TX 75201                                                                                             Pay Online:https://www.roberthalf.com/pay




    Line    Employee Name                              Wk End Dt           "Report-To" Supervisor                   Description               Qty      UOM                      Bill Rate        Amount
       1    Crane,Geoffrey J                           09/17/2021          Morris,John A                            Sr. Attorney            40.00      HRS REG             $        75.00    $    3,000.00
       2    Crane,Geoffrey J                           09/24/2021          Morris,John A                            Sr. Attorney            40.00      HRS REG             $        75.00    $    3,000.00

               Subtotal:                                                                                                                     80.00     HRS                                   $    6,000.00




             Project/Engagement: Highland/Pachulski Discovery Assistance




                                  Invoice Subtotal:                                                                                                                                          $    6,000.00

                                  TOTAL AMOUNT DUE:                                                                                                                                          $    6,000.00




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    (800) 356-1994 / inquiries.srm@roberthalf.com

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                           Robert Half Legal                                                                              Customer                          Invoice                        Total
                           P.O. BOX 743295                                                                                 Number                           Number                        Amount
                           Los Angeles CA 90074-3295                                                                   00000002445092                      0138413C                     $   6,000.00




                                                                                                                    000000024450920138413C006000009




HIGHLY CONFIDENTIAL                                                                                                                                                                         D-CNL003836
  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                                EXHIBIT E
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HIGHLY CONFIDENTIAL                                                               D-CNL003868
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HIGHLY CONFIDENTIAL                                                               D-CNL003869
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HIGHLY CONFIDENTIAL                                                               D-CNL003870
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HIGHLY CONFIDENTIAL                                                               D-CNL003871
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HIGHLY CONFIDENTIAL                                                               D-CNL003872
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HIGHLY CONFIDENTIAL                                                               D-CNL003873
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HIGHLY CONFIDENTIAL                                                               D-CNL003874
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HIGHLY CONFIDENTIAL                                                               D-CNL003875
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HIGHLY CONFIDENTIAL                                                               D-CNL003876
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                                                                                                                                                               Invoice Issued by TSG Reporting, Inc.
                                                                                                                                                                                             INVOICE DATE: 11/16/2021
                                                                                                                                                                                                 INVOICE #: 2065129
                                                                                                                                                                                                     JOB #: 201874




  BILL TO:                            Pachulski Stang Ziehl & Jones LLP
                                      c/o John Morris
                                      780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024 US
  SHIP TO:                            Pachulski Stang Ziehl & Jones LLP
                                      c/o John Morris
                                      780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024 US
  CASE:                               In re: Highland Capital Management, L.P.
  WITNESS:                            James Dondero
  JOB DATE:                           10/29/2021
  LOCATION:                           TELEPHONIC, Dallas, TX, 75001, US

  NOTES:

  SHIP VIA                             Overnight                   TERMS                                   Net 30

  Services                                                                                                                   Qty                      Media                        Rate                            Amount
  James Dondero
  Video Sync / Tape                                                                                                            1                           3                     $75.00                                         $225.00
  Certified - MPEG - Complimentary                                                                                             1                           3                     $50.00                                              $0.00
  Other Services
  Videographer - Set Up & 1st Hour of Job                                                                                      1                                                $315.00                                         $315.00
  Videographer - Additional Hours                                                                                              6                                                $110.00                                         $660.00
                                                                                                                                                                             SUBTOTAL                                        $1,200.00
                                                                                                                                                                                     TOTAL                                   $1,200.00




                                                                                             THANK YOU FOR YOUR BUSINESS!
  Please make all checks payable to: TSG Reporting Inc.                             Remit by Mail to: TSG Reporting Inc. PO Box 95568 Grapevine, TX 76099-9708                                              Federal ID # XX-XXXXXXX
         For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assigned a late fee of 1.5% per month, not exceeded the legal limit. If you have any questions, please call TSG.




HIGHLY CONFIDENTIAL                                                                                                                                                                                                    D-CNL003908
              Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                                                                                                                                                              Invoice Issued by TSG Reporting, Inc.
                                                                                                                                                                                             INVOICE DATE: 11/30/2021
                                                                                                                                                                                                 INVOICE #: 2065833
                                                                                                                                                                                                     JOB #: 202067




  BILL TO:                            Pachulski Stang Ziehl & Jones LLP
                                      c/o John Morris
                                      780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024 US
  SHIP TO:                            Pachulski Stang Ziehl & Jones LLP
                                      c/o John Morris
                                      780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024 US
  CASE:                               In re: Highland Capital Management, L.P.
  WITNESS:                            Bruce McGovern
  JOB DATE:                           11/9/2021
  LOCATION:                           TELEPHONIC, Dallas, TX, 75001, US

  NOTES:

  SHIP VIA                             Overnight                   TERMS                                   Net 30

  Services                                                                                                                                             Qty               Pages                  Rate                    Amount
  Bruce McGovern
  Original & 1 Certified Transcript - Complimentary                                                                                                      1                   36                $5.25                                 $0.00
  Compressed / ASCII / Word Index - Complimentary                                                                                                        1                                    $45.00                                 $0.00
  Original Transcript - Immediate Delivery                                                                                                               1                   36                $5.80                            $208.80
  Exhibit Processing - Scanned & Hyperlinked - B&W                                                                                                       1                   13                $0.20                                 $2.60
  File Creation Fee - Hyperlinked Exhibits - Complimentary                                                                                               1                                    $45.00                                 $0.00
  Other Services
  Reporter Appearance Fee / Session - Telephonic - Complimentary                                                                                         1                                   $155.00                                 $0.00
  Reporter Deposition Scheduling Fee - Minimum                                                                                                           1                                   $475.00                            $475.00
  Remote Video Stream / Zoom                                                                                                                             1                                   $150.00                            $150.00
                                                                                                                                                                                       SUBTOTAL                                 $836.40
                                                                                                                                                                                               TOTAL                            $836.40




                                                                                             THANK YOU FOR YOUR BUSINESS!
  Please make all checks payable to: TSG Reporting Inc.                             Remit by Mail to: TSG Reporting Inc. PO Box 95568 Grapevine, TX 76099-9708                                              Federal ID # XX-XXXXXXX
         For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assigned a late fee of 1.5% per month, not exceeded the legal limit. If you have any questions, please call TSG.




HIGHLY CONFIDENTIAL                                                                                                                                                                                                    D-CNL003909
  Case 21-03003-sgj Doc 197 Filed 08/05/22 Entered 08/05/22 21:07:21 Desc Main
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                                EXHIBIT F
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                                  SUMMARY
PSZJ Total Fees                               $2,663,585.30
Hayward PLLC Total Fees                         $76,059.50
TOTAL FEES                                    $2,739,644.80

Robert Half                                      $32,625.00
TSG                                              $24,835.55
TOTAL EXPENSES                                   $57,460.55
TOTAL FEES & EXPENSES                                               $2,797,105.35

ONE-FIFTH TOTAL PSZJ FEES                       $532,717.06
ONE-FIFTH TOTAL HAYWARD PLLC FEES                $15,211.90
ONE-FIFTH TOTAL EXPENSES                         $11,492.11
ONE-FIFTH TOTAL FES & EXPENSES                  $559,421.07
